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                 Exhibit AC
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                                                                           *MAS
     The Analysis of Johnson & Johnson’s Historical Product
   Containers and Imerys’ Historical Railroad Car Samples from
     the 1960’s to the Early 2000’s for Amphibole Asbestos
                                 2nd
                                       Supplemental Report




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                                        February 1, 2019




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 The Analysis of Johnson & Johnson’s Historical Product Containers and Imerys’
 Historical Railroad Car Samples from the 1960’s to the Early 2000’s for
 Amphibole Asbestos


 Supplemental Report
 This supplemental report contains the following new information obtained by MAS:

    1. In the previous reports, Lee Poye STS samples 20180061-31F (STS 065) and 20180061-
        31G (515 065) was assumed to be two samples from the same ]&] container 515 065.
        This assumption was based on that both samples had the same J&J container l.D. of STS
        065. Recently we examined container photographs of 515 065 and discovered that the
        J&J I.D. 515 065 was for two containers in a single package. The 31F sample is for a
        white STS “Regular” container and for sample 31G,”peach color” STS container that has
        a “SPICE” label at the top of the container. This new information changed the total
        number of containers/samples analyzed from 71 to 72 and the total positive samples
        from 49 to 50. This report was corrected to reflect this information.
    2. Correct typographical errors and editing for clarification.
    3. This 2Id Supplement Report does not contain any new analytical data.



                                           Overview
 Historical J&i Containers

This 2’ supplemental report describes the procedures and methodology used by both MAS and
J3 Resources Inc. to analyze 72 separate historical containers and samples of Johnson &
Johnson’s (J&J) Baby Powder fJBP), Shower to Shower (STS) and lmerys’ railroad car cosmetic
talcum powder for the possible presence of amphibole asbestos. The J&J and Imerys’
containers and samples analyzed for this report were all supplied by both J&J and Imerys from
their historical inventory.

The 72 J&J and lmerys-supplied historical cosmetic talcum powder containers/samples analyzed
for this report, were chosen from the 1960’s, 1970’s, 1920’s, 1990’s and early 2000’s.

The 72 product sample set consisted of 57 JBP (with Asian)/STS containers, and 15 historical
Imerys’ samples that were described as “railroad car” samples. The source of the talcum
powder for these historical JBP/STS and Imerys containers/samples came from both the Italian

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 (1960’s, JBP/STS and Vermont (1960’s, 1970’s, 1980’s, 1990’s, early 2000) talc mines. Included
 in this report are seven Asian Historical JBP samples that MAS analyzed from possibly only the
 1980’s. The source of the talc that J&J used for these historical Asian samples was from the
 Dongyang talc mine in Korea.

 Of the 57 Historical JBP/STS containers reported here, 34 were JBP (with Asian) and 23 were
 S’s.

 Historical Imerys Samples

The additional 15 historical Imerys-supplied railroad car samples incorporated into this
supplemental report were chosen from 1989, the 1990’s and the early 2000’s.

The addition of 15 Imerys’ samples brings the total number of both historical containers
(JBP/STS) and historical samples (Imerys) that MAS has now analyzed for the MDL to 72. This is
in addition to the 35 JBP/STS containers (March 11, 2018 Supplemental Report) that were
supplied by both plaintiffs’ counsel and MAS.

This now would bring the total number of J&J/lmerys cosmetic talcum powder samples
analyzed by MAS to 107.

i3 and MAS’ Analysis of Historical STS Samples

Of the 57 historical JBP/STS talcum powder containers that were analyzed and reported here,
41 JBP (with Asian)/STS containers were analyzed by MAS and 16 515 containers (MAS verified
by ATEM & PLM) were previously analyzed by Lee Poye of J3 Resources Inc., located in Houston,
Texas.

For the Lee Poye ATEM analysis, initially MAS was unable to verify the results of two J3 ATEM
SIS sample analyses (20180061-63D and 20180061-lCD). Both of these samples were reported
to contain one asbestos anthophyllite structure in each. These two STS samples were not
reported in our November 11, 2018 Supplemental Report since we could not verify if they were
either positive or negative for amphibole asbestos.

Since the November 11, 2018 report, MAS has received the 16 STS samples (16 containers)
from Lee Poye and has analyzed all of these samples by the PLM/Blount method. The two 515
samples (20180061-63D and 20180061-1OD) that MAS could not verify by ATEM, were positive
for regulated amphibole by the Blount/PLM method.

The two 515 containers positive for amphibole asbestos are now included into this
supplemental report. Our November 11, 2018 expert report provided analysis of 55 historical
J&J product containers, and with the addition of these two now verified (Lee Poye STS product


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 containers 20180061-63D and 20180061-laD), this 2 supplemental report is now providing
 the analytical results for 57 historical JBP/STS containers.

 Also, when MAS analyzed five J3 ATEM non-detect STS samples by the Blount/PLM method,
 four of these five J3 ATEM non-detects were found to be positive for amphibole asbestos by the
 Blount/PLM method. The one remaining ATEM non-detect J3 515 sample (20180061-02D), was
 also found to be a non-detect for asbestos by the PLM/Blount method.

As described in our November 11, 2018 report, MAS sent a number of the historical J&J
samples to J3 Resources for both PLM and XRD analysis using the 150 22262-1 and ISO 22262-3
protocols. For this supplemental report, 19 additional historical i&J samples (18 containers)
(M69042, M69248 and M68233) were sent to Lee Poye for XRD analysis using the ISO 22262-3
method.

Cosmetic Talc Analytical Methods

The three principle analytical methods used by both J3 and MAS for the analysis of the 57 ]&J
cosmetic talc containers were X-ray diffraction (XRD), polarized light microscopy (PLM) and
analytical transmission electron microscopy (ATEM). For the 15 individual historical Imerys’
railroad car samples, were only analyzed by the PLM (ISO & Blount) and ATEM methods. The
Imerys’ railroad car samples were not analyzed by XRD. The reasons for this will be discussed
later in this report.

The three analytical methods used in this report all have strengths and weaknesses where it is
expected, that amount of amphibole asbestos content would be at or below 0.1 wt. %.

XRD

For cosmetic talc the XRD has the advantage of analyzing very large samples as compared to
either PLM or ATEM. The disadvantages are 1) poor analytical sensitivity for bulk cosmetic talc
samples when the potential amphibole asbestos concentration is typically below 0.1 to 0.3
weight % (wt.%), and 2) XRD cannot determine the crystalline habit (fibrous vs. non-fibrous) of
amphibole minerals. However, for the majority these samples, XRD (ISO 22263-3) was used so
that a comparison of the results to both PLM and ATEM analysis could be made in this report.




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    PLM

 The PLM method is primarily used today for the analysis of asbestos-added products where the
 asbestos-content of these products are typically over 1% by weight.”23

 The strengths of the method are that it can positively identify the different regulated asbestos
 mineral types and provide a qualitative estimate of the weight percent of asbestos. The
 primary weaknesses of the method are 1) analytical sensitivity issues for samples that may
 contain less than 0.1 wt. % of asbestos such as cosmetic talcs and 2) because asbestos fiber and
 bundle structure resolution in the PLM method is dependent on the wave length of light,
 asbestos particles must be at least 0.5 tim in the smallest dimension to be visible. Interesting
 enough, Dr. Walter McCrone stated: “I have never seen rolled talc plates as fibers” page 44, 3rd
 paragraph. For these analysis the ISO 22262-1 PLM method was used.

 ATEM

 It is well recognized that the use of an analytical transmission electron microscope (ATEM) is
 the only analytical method with the appropriate sensitivity for the analysis of trace mineral
 concentrations that can be much less than 0.01 wt. %.

ATEM Strengths are: 1) it can positively identify potential fibrous chrysotile and amphibole
asbestos structures by energy dispersive X-ray analysis (EDXA) for mineral fiber chemistry and
crystalline structure information by selective area electron diffraction (SAED) and 2) The ATEM
provides good morphology information that can, in most cases, distinguish between single
fibers and bundles of regulated asbestos fibers.

The primary weakness for ATEM analyses of amphibole asbestos in cosmetic talcs is the sample
preparation where overloading issues with the talc particles affects the analytical sensitivity of
typical ATEM sample preparation procedures. Increasing analytical sensitivity usually involves
the examination of hundreds of TEM grid openings and requires significant hours of TEM
instrumentation time. Also, the ATEM is typically biased against detecting very large asbestos
bundles that are routinely found by PLM.




1
  Iso 22262-1: 2012E Air Quality Bulk Materials Part 1: Sampling and Qualitative Determination of Asbestos in
commercial Buk Samples.
2
  The Asbestos Particle Atlas, Dr. Walter C. McCrone, Director McCrone Research Institute, Ann Arbor Science,
1980.
  EPA/600/R-93/116.
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 Heavy Liquid Separation: PLM and ATEM Method

 The concern over analytical sensitivity for amphibole asbestos in cosmetic grade talc was first
 published in the peer-reviewed literature by A. M. Blount.4’5 It was estimated by Dr. Blount that
 for every 1,000 amphibole particles present there would be approximately 1,000,000 talc
 particles. To overcome this problem the author described the use of a heavy liquid density
 separation method that reduced the number of talc particles as compared to the potential
 presence of amphibole asbestos thereby increasing analytical sensitivity for the PLM analysis of
 the talc samples.

 In addition to increasing the analytical sensitivity of the PLM analysis for cosmetic grade talc
 using the heavy liquid separation method as published by Blount, the heavy liquid separation
 method can also be used to substantially increase the analytical sensitivity of the ATEM analysis
 of cosmetic talc samples as described in the ISO 22262-2 bulk materials method.6

Reducing the amount of talc increases the sensitivity of the ATEM analysis and it also increases
the amphibole sensitivity by the ATEM method. It would also increase the efficiency of the
analyst by eliminating the need to examine hundreds of TEM grid openings to achieve
reasonable analytical sensitivity.

 References for the use of heavy liquid density separation of cosmetic talc during the sample
 preparation stage was described first by Dr. Fred Pooley in 1971, the Colorado School of Mines
 Research Institute in 1973 and by Windsor Minerals, Inc., Dartmouth College in ;9747, 8,9




4A.M. Blount “Amphibole Content of Cosmetic and Pharmaceutical Taics”, Environ. Health Perspectives, Vol. 94,
1991, pp. 225-230.
  Process Mineralogy IX: The Minerals, Metals and Materials Society, 1990, A.M. Blount “Detection and
Quantification of Asbestos and Other Trace Minerals in Powdered Industrial-Mineral Samples”, pp. 557-570.
ISO 22262-2: 2014E Air Quality-Bulk Materials Part 2: Quantitative Determination of Asbestos by Gravimetric and
Microscopical Methods.
  March, 1974: to Windsor Minerals, Inc., Windsor, Vermont from R.C. Reynolds, Jr., Department of Earth Sciences,
Dartmouth College, Hanover, New Hampshire: “Analysis of Talc Products and Ores for Asbestiform Amphiboles”.
  Research and Engineering Center, August 11, 1971 Memo to File. FDA Meeting-Asbestos in Cosmetic Talc, August
3, 1971-Washington, D.C.
  Colorado School of Mines Research Institute “A Procedure to Examine Talc for the Presence of Chrysotile and
Tremolite-Actionlite Fibers”.
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 Over All Summary of Results

 i&J and Imerys


 The 57 JBP/STS containers (including the 7 historical Asian JBP containers) and the 15 individual
 Imerys’ railroad car samples gives a total of 72 historical containers/samples that were
 incorporated into this supplemental report.

 A summary of these results are as follows;

    1. The analysis of 34 historical JBP (with Asian) containers found that 24 were positive or
       71 % positive.
    2. The analysis of 23 historical STS containers found that 18 were positive or 7$ % positive.
    3. The analysis of 15 individual Imerys’ railroad car samples found that $ were positive or
       53 % positive.

 Excluding the seven JBP Asian historical containers would then give a total of 65 JBP/STS &
 lmerys’ containers/railroad car samples analyzed; 44 were positive (6$ ¾) for amphibole
 asbestos.

 A summary of the results excluding the Asian JBP containers:

    1. 27 historical JBP container analyses; 18 were positive or 67 % positive.
    2. 23 historical STS container analyses; 1$ were positive or 78 % positive.
    3. 15 individual Imerys’ railroad car samples; 8 were positive or 53 ¾ positive.

XRD

All 50 JBP/STS (Italian and Vermont talc mine source) talcum powder samples analyzed by XRD
were found to be negative or non-detect by this method. Of the seven Asian JBP containers
analyzed, two were positive and one sample was inconclusive. The 15 Imerys’ railroad car
samples were not analyzed XRD.

PIM

When 56 of the JBP/STS containers and Imerys samples were analyzed by MAS using PLM (ISO
22262-1) method (no heavy liquid density separation), 18 of the samples were positive for
regulated amphibole asbestos or 32 ¾ positive.



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 The Blount/PLM heavy density method found that out of the 72 JBP/STS and Imerys’
 containers/samples analyzed, 41 or 57 ¾, were positive for regulated amphibole asbestos.

 For the ISO PLM method the amount of asbestos found for the positive samples were all
 <0.1 %. The Blount PLM method the amount of asbestos found ranged from <0.1 ¾ to 0.7 ¾.

 ATEM

 The ISO 22262-2 ATEM (MAS and Lee Poye verified) analysis showed that in 70 JBP (With
 Asian)/STS and Imerys’ railroad car talcum powder samples, 42 or 60 %, contained detectable
 amounts of amphibole asbestos fibers and bundles (tremolite solid solution series and or
 anthophyllite solid solution series). Neither chrysotile nor anthophyllite without iron was
 detected in any of the ATEM samples.

 By ATEM, the amphibole asbestos concentration for the 42 positive JBP/5TS and Imerys talcum
 powder samples ranged from between 4,370 fibers-bundles/gram to 268,000 fibers-
 bundles/gram of talcum powder.

 All of analysis (PLM, Blount/PLM and ATEM), 50 (69 %) of the 72 container/samples were
 positive for regulated amphibole asbestos.

 Two different regulated amphibole asbestos types were found. These were the tremolite
 asbestos solid solution series amphiboles which includes tremolite, winchite, richterite, and
 actinolite (only tremolite was detected by ATEM) and the anthophyllite asbestos solid solution
 series that includes anthophyllite, iron-rich anthophyllite, ferro-anthophyllite, cummingtonite
 and grunerite. Only iron-rich anthophyllite solid solution series asbestos structures were
 detected.

As expected, no anthophyllite asbestos (without iron) or chrysotile fibers/bundles were found
in any of the 42 positive i&J talcum powder samples we analyzed by ATEM. A more detailed
explanation for the lack of anthophyllite (without) iron or chrysotile fiber findings can be found
in the Discussion and Conclusion Section of this report.

 Fibrous Talc MAS Analysis

In addition to tremolite series and anthophyllite series amphibole asbestos, 42 of the 57 JBP
(with Asian)/STS and Imerys’ talcum powder samples analyzed by ATEM were observed to
contain fibrous talc. A semi-quantitative calculation for the amount fibrous talc for each of the
positive ATEM samples was also done. The concentration for each of the fiber talc positive
ATEM samples ranged from 290,000 talc fibers per gram to 1,020,000 talc fibers per gram of
product.

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 The 16 J3 ATEM container analysis did not provide enough information to perform a semi-
 quantitative fibrous talc calculation, and therefore, was reported as not applicable (NA).

 The ISO 22262-1 PLM method found that for the 56 Italian, Vermont and China sourced talc
 containers/samples analyzed by MAS, 55 (98 %) contained fibrous talc. The Blount/PLM method
 showed that of 72 analyzed, 20 (28 ¾) contained fibrous talc.

                                     Materials and Methods
 Sample Log-In Procedure

 The JBP/STS and Imerys’ talcum powder samples that were analyzed by MAS for this report were
 provided by both Johnson & Johnson and Imerys from their historical sample depository. The J&J
 historical samples were received by MAS in four separate sets and logged into MAS’ sample
 tracking system and assigned to MAS project numbers as follows; M68233, two samples received
 at MAS on February 9, 2018. M68503, 75 samples received at MAS on Match 29, 2018. M69042,
 10 samples received at MAS on July 17, 2018 and M69248, seven Asian samples received at MAS
 on August 21, 2018. The Imerys historical samples were received by MAS in two separate sets
 and logged into MAS’ sample tracking system and were assigned MAS project numbers as
 follows; M69751, 43 samples received at MAS on 12/7/2018 and M69757, 37 samples were
 received at MAS on 12/10/2018.



 150-22262-1 and 3 PLM/XRD (j3 Resources)

 On June 1, 2018, 75 J&J sample splits from M68503 and four spiked samples (tremolite and
 anthophyllite asbestos) were sent to Lee Poye for PLM and XRD analysis by ISO 22262-1 and 3.

 On November 28, 2018, 10 sample splits from M69042, seven sample splits from M69248
 (Asian JBP Containers), and four spiked samples (tremolite and anthophyllite asbestos) were
 sent to Lee Poye for XRD analysis by ISO 22262-3. The results were provided to MAS from J3 in
 a December 12, 2018 report and the data was added to this supplemental report.

 On December 12, 2018, two sample splits from project M68233 were sent to Lee Poye for XRD
 analysis.

 The results were provided to MAS from J3 in a December 20, 2018 report and the data was
 added to this supplemental report.

 Muffle Furnace

 Approximately 1 to 2 grams (Sartorius Research Balance) of the 72 talcum powder samples was
 removed from each of the JBP/STS containers and Imerys samples and placed in a 15 ml glass
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 scintillation vials. The scintillation vials were then placed in a Fisher Scientific Iso-temp muffle
 furnace Model #650 at 400°F for a minimum of 4 hours to remove any organic material.


 lSO-22262-1 PLM C MAS)

 Approximately 60 to 100 milligrams each of the 56 talcum powder samples were analyzed by
 the ISO 22262-1 PLM method. Three mounts of the talcum powder sample are placed on two
 glass slides, a drop of the 1.605 refractive index fluid was placed onto each of the three talcum
 powder mounts, stirred with the point of a scalpel blade, and then covered with an 18 x 18 mm
 glass cover slip. The entire area of the three coverslip mounts were examined (972 mm2).
 Positive identification of amphibole asbestos was done by morphology, refractive indices,
 elongation, angle of extinction, and birefringence. For positive samples, a visual estimation of
 the quantity of asbestos observed was based on eye calibration through review of lab
 generated weight percent standards. Visual calibration was augmented by the use of area
 percent charts.

 PLM/Blount Method

 Approximately 60 to 100 mg (Sartorius Research Balance) from each of the 72 JBP/SIS and
 Imerys’ muffled talcum powder sample aliquots were placed into individual labeled Eppendorf
 micro-centrifuge tubes (MCT) (Premium 1.5mL MCT Graduated Tubes Cat. No. 05-408-12).



 Density Separation

 Approximately 1.2 ml of Heavy Liquid (Lithium heteropolytungstates solution, GeoLiquids, Inc.,
 Cat. No. LSTO1O with a stated density 2.85 g/cc diluted with distilled water to a density of 2.810
 (determined by a VWR Hydrometer model number 34620-1109) was addedto the MCI
 containing the 100 mg of the JBP/STS and Imerys’ talcum powder samples and mixed with a
 disposable mixing rod for 10 to 20 seconds. The combined talc and LST heavy liquid (density
 2.810 grams/cc) samples were placed into a vacuum desiccator (JEOL EMDSC-U1OA) to remove
 air bubbles for 3 minutes at a pressure of approximately 8 Tort prior to centrifugation.

 The MCI sample tubes were then placed in an Eppendorf micro-centrifuge (Model No. 5415D)
 set at 7,000 RPM for a total of 10 minutes at room temperature. After removal of the MCT
 tubes from the centrifuge, the talc/heavy liquid was pipetted off from the top of the centrifuge
 tube, distilled water was added, mixed and the sample was re-centrifuged as described above.
 This step was repeated two more times. After the third centrifugation/heavy liquid removal
 step, the heavy particles were removed from the bottom of the centrifuge tube with a pipette
 with several drops of water containing the heavy particles then transferred to a glass
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 microscope slide and allowed to dry. The heavy particle residue on the glass slide was then
 analyzed by the ISO 22262-01 PLM method.



 ATEM-ISO 22262-2 TEM Sample Preparation

 Density Separation

 Approximately 20 to 60 mg (Sartorius Research Balance) from the muffled talc sample aliquot
 was placed into a labeled Eppendorf micro-centrifuge tube (MCT) (Premium 1.5mL MCI
 Graduated Tubes Cat. No. 05-408-12). Approximately 1.2 ml of Heavy Liquid (Lithium
 heteropolytungstates solution, GeoLiquids, Inc., Cat. No. LSTO1O density 2.25 g/cc) was added
 to the MCI containing the talc samples prepped and mixed with a disposable mixing rod for
 approximately 10 to 20 seconds. The combined talc and LST heavy liquid samples were then
 placed into a vacuum desiccator (JEOL EMDSC-UOA) to remove air bubbles for 15 minutes at a
 vacuum pressure of approximately 8 Torr prior to centrifugation.

 The MCI sample tubes were then placed in an Eppendorf micro-centrifuge (Model No. 5415D)
 set at 9,000 RPM for total of 90 minutes at room temperature. After removal of the MCT tubes
 from the centrifuge, they were flash frozen in liquid nitrogen and the MCT tip was immediately
 removed with a pre-cleaned 6 inch steel cleaver into a clean 45 mL flat bottom disposable
 centrifuge tube. Figure 1 shows the cut area on the MCI tip.

 Figure 1:

     Cut Line for Removal of MCT Tip




                                        Red line is showing cut area on MCI tip




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 Deionized water was added to the centrifuge tube to bring the volume to approximately 45 ml.
 The 45 ml centrifuge tube was capped and inverted by hand 5 times to distribute the collected
 material in the bottom of the MCT tip. The 45 ml mixture was then immediately and
 continuously filtered onto a 25 mm Polycarbonate filter (PC) with a 22iim pore size. After the
 mixture was filtered, the excess heavy liquid was washed through the filter with the addition of
 approximately 100 ml of deionized water. The prepared PC filter was placed in a new
 disposable plastic 47mm petri dish and allowed to dry at ambient room temperature in a HEPA
 hood for a minimum of 2 hours. The processed PC filter samples were directly prepared onto
 TEM 100 im size grids (2 for analysis and 1 for archive) using either the standard TEM filter
 preparation protocol for MCE filters or for the PC filters.’0’ 11, 12, 13, 14, 13, 14



 ATEM Amphibole Analysis Procedure

 JEOL 1200EX ATEMs equipped with either a Noran or an Advanced Analysis Technologies (light
 element) energy dispersive x-ray analyzer (EDXA) were employed for this analysis. ATEM
 samples were analyzed at a screen magnification of 20,000X. Amphibole fibers or bundles with
 substantially parallel sides and an aspect ratio of 5:1 or greater, and at least 0.51.tm in length
 were counted as regulated asbestos fibers and bundles per standard TEM counting rules as
 described byASTM D5755, ASTM D5756, Iso 10312, ISO 13794, AHERA (TEM section only) and


 Positive identification of amphibole asbestos requires EDXA for mineral chemistry confirmation
 and selected area electron diffraction (SAED) for each amphibole type. At times, amphibole
 bundles may have a diameter that is too thick to acquire a SAED pattern, then, only the mineral
 chemistry can be used. For anthophyllite series asbestos, two separate angle SAED were
 acquired.




 ‘°
    D5755-09 “Standard Test Method for Microvacuum Sampling and Indirect Analysis of Dust by Transmission
 Electron Microscopy for Asbestos Structure Loading.
    D5756-02 “Standard Test Method for Microvacuum Sampling and Indirect Analysis of Dust Loading by
 Transmission Electron Microscopy for Asbestos Mass Surface.
 12
    ISO 10312 1995-05-01, “Ambient Air Determination of Asbestos Fibers-Direct-Transfer Transmission Electron
 Microscopy Method.
 ‘
    ISO 13794 1999 07-15, “Ambient Air-Determination of Asbestos Fibres-Indirect-Transfer Transmission Electron
 Microscopy Method.
 14
    U.S. Environmental Protection Agency (USEPA) 1987. Asbestos Hazard Emergency Response Act, 40 CFR Part
 763, Appendix A to Subpart E, USEPA, Washington D.C.
 ‘
    D7712-11 “Standard Terminology for Sampling and Analysis of Asbestos.”
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 Counting Rules

 100 grid openings were analyzed for each of the JBP/ST5 and lmerys talcum powder samples.
 The 100 grid opening counts were split evenly between two grids.

 All amphibole fibers/bundles that meet the above-stated size criteria were recorded on the
 MAS TEM structure count bench sheets for each sample. Length and width of each amphibole
 fiber/bundle was recorded and identified. Every amphibole structure identified and counted by
 the analyst required observation of an EDXA spectra matching the mineral chemistry for that
 particular amphibole and a SAED amphibole pattern. EDXA spectra and SAED patterns are
 recorded/saved for every asbestos amphibole structure found in the samples.
 Photomicrographs were taken of the amphibole fibers/bundles found from each of the samples
 that were positive for amphibole asbestos.

 Results were reported as either amphibole asbestos fibers/bundles (structures) per gram of talc
 or in weight percent. Analytical sensitivity/detection limits were reported as structures per
 gram. The weight percent analytical sensitivity/detection limit was not provided in the
 November 11, 2018, since the procedure for calculating the detection limit is to use a
 theoretical mathematical calculation of one arbitrary minimal fiber dimension. Instead of an
 arbitrary fiber dimension, a more accurate represented fiber size would be too use an average
 size for all the of detected amphibole fibers structures analyzed by ATEM in these samples. The
 average amphibole asbestos structure size was 12.1 urn x 1.1 lIm, with an aspect ratio of 11:1.
 For this report, the more accurate weight detection limit was added to the data sets.


 Fibrous Talc Estimation

 A number of the JBP (with Asian)/STS and Imerys talcum powder samples were found to
 contain fibrous talc during both types of the PLM analysis as well as the ATEM analysis. A full
 quantitative analysis of the number of fibrous (asbestiform) talc particles was not done at this
 time. For the ATEM, a semi-quantitative estimate of the number of fibrous talc particles
 present in four random grid openings and observed throughout the 100 grid openings was
 scored as follows:

    1) Abundant: (>11 fibrous talc particles)
    2) Common: (4 to 10 fibrous talc particles)
    3) Trace:    (1 to 3 fibrous talc particles)

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 This estimation was based on the talc fibers/bundles having at least a 5:1 aspect ratio or
 greater, at least O.5im in length and substantially parallel sides. One representative talc fiber or
 bundle was recorded (EDXA, SAED and photographed) for each of the samples that contained
 fibrous talc. Also, the finding of fibrous talc on random grid openings provided an overall
 estimate of how many talc fibers were on 100 grid openings analyzed for each of the samples.

 For both PLM methods a visual estimation was made of the identified talc fibers and was
 reported as either trace or moderate (common).


 Process Laboratory Blanks

 For each set of samples that were prepared by the heavy liquid method, one process laboratory
 blank was prepared with each set of samples. These process blank MCE filters were prepared in
 the same exact manner as the talc samples (heavy liquid, filtration on MCE/PC filters, etc.) but
 without any talc material. For the TEM analysis, 100 grid openings were analyzed for each of
 the process blanks per sample set.



                                              Results
 i3 RESOURCES INC. ANALYSIS

 XRD ISO 22262-3 Method

 i3 Analysis

 Lee Poye of J3 Resources analyzed 57 JBP/STS containers by the ISO 22262-3 XRD method. Of
 the 57 JBP/STS containers analyzed, 54 were non-detects, two were positive, and one was
 inconclusive by the XRD method.

 For 5OJBP/STS containers where the source of the talc was either the Italian or Vermont mines,
 all were non-detects by XRD. The other seven were Asian historical JBP containers (the source
 of the talc was from the Korea mine) had two positive and one inconclusive and the other four
 samples were non-detects. The 15 Imerys railroad car samples were not analyzed by XRD.

 A summary of all the XRD results are shown in Tables 7 & $ to this report.




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 PLM ISO 22262-1 Method

 i3 Analysis

 Using the ISO 22262-1 PLM method, J3 Resources found that out of 38 samples analyzed, all
 were negative or non-detects. A summary of the J3 results are also shown in Table 8 in this
 report.



 ATEM of Historical i&i Vermont Talc Shower to Shower Talcum Powder

 On July 18, 2018 Lee Poye of J3 Resources, Inc. issued a report (to Joe Satterley of the Kazan Law
 Firm) of his analysis of 16 historical J&J Vermont talc Shower to Shower talcum powder samples
 that were split by J&J from their historical Shower to Shower (STS) containers that ranged in
 date from 1978 to 1986.16

 Of the 16 STS containers analyzed by Lee Poye using the ISO 22262-2 heavy liquid TEM
 method, 11 of the 16 samples (69%) were positive for anthophyllite asbestos (solid solution
 series) and five samples were below the detection limit of the method. A summary of the 11
 positive results are shown in Table 1.
                                            Table 1

                   i3 TEM Results for Positive Vermont Talc Shower to Shower Samples


         Laboratory control       i&i Sample         srs container         Mass Fraction     Anthophyllite
             Number              Identification           Year             Percent Wt.       Asbestos (f/b)
                                    Number                                                 Concentration per g
        20180070-07D            2014.001.0397            1978                7.3 x iO           82,370
        20180061-37D                STSOO1               1982                3.0 x io-           9,257
        20180061-38D                STSOO2               1980                3.0 x i0           53,416
        20180061-45D                515009               1982                1.9 x 1O            9,000
        20180061-52D               STSO16             1980 1981
                                                           -                 4.0 x 10           70,126
        2018006 1-63D              5T5027                1980                3.5 x 10            7,419
        20180061-65D               STSO29             1980 1981
                                                           -                 9.2 x iO           95,321
        20180061-1OD               5T5044             1980 1981
                                                           -                 2.6 x iO           12,209
        20180061-15D               STSO49                197$                1.3 x i0           60,507
        20180061-31F               ST5065                1986                2.9 x iO           21,964
        20180061-31G               5T5065                1986                5.2 x              29,715




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      J3 Report for the Analysis of Shower to Shower Talc Samples, July 18, 2018.
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 The above results were reported by J3 as a mass fraction or weight percent. The calculations to
 the corresponding anthophyllite fiber/bundle concentrations per gram was done by MAS using
 the information provided on the J3 TEM count sheets.

 Verification of Lee Poye’s STS Results

 Lee Poye arrived at MAS on the morning of October 31, 2018 with one TEM grid box that
 contained the prepared TEM grids for J3 project number JH1898969 for the J&J Vermont Talc
 STS samples. This information was confirmed by Lee Poye, that the TEM grids he brought to
 MAS was for the historical STS samples that he had previously analyzed.

 In turn, MAS provided Mr. Poye with MAS TEM grid boxes for the 10 historical JBP talcum
 powder samples (MAS M69042). The MAS verification of the J3 analysis was only for the 11
 positive TEM sample analysis, the five sample results that were below the detection limit were
 not verified by MAS, and those results were accepted as true by MAS.

 MAS was able to verify nine of the 11 ATEM positive historical STS talcum powder samples
 reported by i3. The nine positive MAS verified STS ATEM samples, two non-verified 515 positive
 ATEM samples, and the five samples that were below the ATEM detection limit, were included
 in this overall report and are identified in summary Tables 3 and 4.

 A full report of the MAS verification analysis, verified count sheets, asbestos structure photo
 micrographs, EDXA and SAED data is provided with this report.17

 The overall summary of the results for the three analytical methods used for the 57 ]BP/STS
 containers and 15 Imerys’ historical railroad car samples analyzed for this report are
 summarized in Tables 2, 3, 4, 5, 6, 7, 8 and 9. These summary tables have been organized by
 decade from the 1960’s (Table 2), 1970’s (Table 3), 1980’s (Table 4), 1990’s (Table 5) early
 2000’s, (Table 6), Asian (Table 7, XRD only), XRD and PLM (Table 8), and Fibrous (Table 9).

 150-222624 Analysis

 The ISO 22262-1 PLM analysis showed that out of the 72 ]BP (with Asian)/STS containers and 15
 Imerys’ railroad car samples analyzed by MAS and J3, 18 containers (25%) had detectable
 amounts of regulated amphibole asbestos, the rest were either non-detects or contained
 actinolite/tremolite cleavage fragments that had an aspect ratio of < 3:1.

 Results for all 18 positive samples were found to contain <0.1 % asbestos. Also, for these
 positive ISO PLM samples, both regulated actinolite/tremolite and or anthophyllite asbestos
 were found.


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   Verification of Lee Poye’s TEM Analysis of J&J’s Historical Vermont Talc-Containing Shower to Shower Talcum
 Powder Samples, November 5, 2018.
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 A summary of the MAS & J3 Iso 22262-1 PLM analysis results are shown in Tables 2, 3, 4, 5 and
 6 in this report.

 Comparison of the J3 ISO PLM to MAS ISO PIM Analysis for the Same Sample Set

 Both MAS and J3 analyzed the same 22 J&J/STS talc samples by the 15022262-1 PLM method.
 Where all 22 of the J3 ISO PLM results were found to be negative, MAS found that 8 of the 21
 were positive. A summary of this data is shown in Table 8.

 PLM/Blount Method

 The Blount/PLM method showed that out of the 72 historical JBP (with Asian)/STS containers
 and Imerys’ railroad car samples analyzed by MAS, 41 (57%) had detectable amounts of
 regulated amphibole asbestos and the rest were either non-detects or contained only
 tremolite/actinolite cleavage fragments that had an aspect ratio that was less than 3:1.

 These 72 historical containers/samples analysis by the Blount/PLM also includes the 16 Lee
 Poye historical ST5 containers that were sent to MAS from J3 on Nov 14, 2018 and received at
 MAS on Nov 16, 2018.

 Results for 41 positive samples were reported as an estimated weight percent range of from
 <0.1% to 0.7 %. Also, for these positive Blount/PLM samples, both regulated
 actinolite/tremolite and or anthophyllite asbestos was detected.

 The summary of the MAS Blount/PLM results are shown in Tables 2, 3, 4, 5, and 6 in this report.

 ATEM ISO 22262-2 Method

 The ISO 22262-2 ATEM heavy liquid separation method showed that out of the 70 historical
 JBP/STS containers and Imerys’ railroad cars samples, 42 (60 %) contained regulated asbestos
 fibers and bundles. Two types of asbestos amphiboles were detected in these samples, they
 were either the tremolite asbestos solid solution series and or the anthophyllite solid solution
 series asbestos. Only the iron-rich anthophyllite asbestos was detected in the ATEM.

 The amphibole asbestos structures per gram of talc ranged from below our analytical
 sensitivity/detection limit of approximately 3,000 9,400 fibers/bundles per gram to an
                                                    -




 amphibole asbestos concentration that ranged from 4,400 268,000 fibers-bundles/gram of
                                                             -




 talc. Also, for the positive ATEM samples the results were also expressed as a weight percent.



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 Tables 2 through 6 also provide the summary of ATEM findings for each of the 42 positive ATEM
 samples that were detected and the identification of the asbestos type for each of the
 measured amphibole asbestos fiber or bundles. This data includes length and width of the
 asbestos structure, individual fiber/bundle aspect ratios, and the average aspect ratio for each
 sample set.

 All MAS and ISO PLM, Blount/PLM, ATEM analytical data, and photo-micrographs can be found
 in notebooks provided with this report that are labeled Historical 1960’s, 1970’s, 1980’s, 1990’s
 Early 2000’s and JBP (with Asian)/STS and Imerys’ Analysis.

 Each of these notebooks contain ISO PLM and Blount bench sheets and optical photo
 micrographs for each sample. ATEM count sheets, EDXA spectra, SAED micrographs, and ATEM
 photo-micrographs for each of the regulated amphibole asbestos structures analyzed are
 included.

 All the J3 XRD and ISO PLM analyses are summarized in Tables 7 & 8. Also provided in Table 8 is
 a comparison of the J3 lSO-PLM to the MAS ISO-PLM for the same sample analyses.



 Fibrous Talc JBP (with Asian)/STS Containers and Imerys Railroad Car Samples

 The MAS ISO 22262-1 PLM analysis showed that fibrous talc was found in 56 of 57 total samples
 (55 of 55 JBP (with Asian)/STS and Imerys analyzed by this method and of the 72 samples
 analyzed by the Blount/PLM method, 28 of the samples were positive for fibrous talc.

 The MAS ISO 22262-1 and Blount PLM samples had concentrations of fibrous talc that ranged
 from trace to common (moderate) amounts.

 For the MAS ISO 22262-2 ATEM analysis (no J3 ATEM results), 42 of the 56 containers/samples
 (74%) analyzed contained trace amounts of fibrous talc. The estimated amount of fibrous talc
 per gram ranged from 290,000 talc fibers to 1,020,000 talc fibers per gram of cosmetic talcum
 powder.

 No attempt was made to determine the amount of talc in 16 J3STS sample analysis ATEM bench
 sheets since it was unclear to us regarding the i3 data collecting parameters and the amount of
 fibrous talc detected in the samples. This data is summarized in Table 9.




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 Process Blanks

 All of the process blanks that were run with each set of talcum powder samples were found to
 be negative for any asbestos fiber types. The ATEM bench sheets and summary are provide in a
 separate document supplied with this report.

                                           Discussion
 XRD ISO 22262-3

 All of the historical JBP/STS containers, where the source of the talc was either Italian or
 Vermont were found to be negative or non-detect by XRD. For the seven (7) Asian samples,
 two (2) of the samples were positive by the XRD analysis and one sample was inconclusive. The
 source of the talc that J&i used in these Asian products was from the Korean Dongyang talc
 mine in Korea. This talc mine has been characterized in the past as an asbestiform tremolite
 asbestos talc mine. The documentation concerning the Dongyang mine Korea talc deposit and
 J&J’s use of the talc from that has been produced to J&J in the Leavitt deposition.

 The results show that the XRD method for either the Italian or Vermont cosmetic talc samples
 was inadequate to detect any tremolite or anthophyllite amphiboles at the concentrations
 found by the other analytical methods used (ISO PLM, Blount PLM and ATEM).

 For the Asian historical J&J cosmetic talc samples, two of the seven were positive for amphibole
 asbestos. When these same samples were analyzed by the ISO-PLM, Blount/PLM and ATEM
 methods, six of seven samples were found to be positive for tremolite asbestos.

 Based on these results there seems to be little value, even as a screening tool, to use XRD for
 cosmetic talcum powder samples when the source of talc is either from the Italian or Vermont
 mines. However, if the source of talc is from the Dongyang mine in Korea, there may be some
 limited value to use XRD as a preliminary screening tool for a tremolitic type talc mine.

 Since all 42 Vermont-sourced cosmetic talc samples were found to be negative for amphibole
 asbestos, there was no useful reason to analyze these additional 15 Imerys railroad car samples
 by XRD since the source of these Imerys cosmetic talc samples is from the same Vermont talc
 mines.

 MAS PLM-ISO 22262-1 Method

 The ISO PLM analysis performed by MAS detected 18 positives out of 56 samples that were
 analyzed. Many of the samples analyzed contained tremolite/actinolite cleavage fragments
 that had a typical aspect ratio of less than 3:1. No anthophyllite cleavage fragments were
 detected in any of the samples. For the positive samples, both regulated tremolite/actinolite
 and anthophyllite asbestos was detected at an estimated concentration of <0.1 weight percent.

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 All of the asbestos structures identified were large bundles that were typically greater than 50
 microns long and 10 to 20 microns wide. No individual asbestos bundles were detected in any
 of these samples with widths less than 5 to 10 microns. However, individual fibers contained in
 these large bundles could be resolved with dispersive staining. The estimated average aspect
 ratio of the individual asbestos fibers in the bundles was greater than 20:1.

 Lee Poye of J3 Resources analyzed 22 historical JBP/STS by the ISO PLM that were provided by
 MAS, and their 16 historical Vermont STS samples by this method. All 38 ISO PLM analysis were
 reported as non-detects.

 When the same 21 historical JBP/STS samples were analyzed by MAS, 8 of the samples were
 found to be positive.

 These differing results between the two labs will require further investigation to understand
 the reason for these differences.

 Blount/PLM Method

 The Blount /PLM method heavy liquid separation method was able to increase the analytical
 sensitivity of the PLM analysis as compared to the ISO PLM method without heavy liquid
 separation. Of the 72 historical JBP (with Asian)/STS containers/samples analyzed by this
 method, 41 (57 %) were positive for regulated amphibole asbestos. For the positive samples,
 both regulated actinolite/tremolite and or anthophyllite asbestos were detected at a weight
 percent concentration for range of between <0.1% to 0.7 %. The estimated average aspect
 ratio of the individual asbestos fibers in the bundles was greater than 20:1.

 When Dr. Blount published her heavy liquid separation PLM results in 1989/1990, one of the
 samples (sample I) was analyzed for tremolite asbestos. This sample was later determined to
 be a container of Johnson’s Baby Powder.3’4 The source talc used by J&J, for their JBP product
 at that time (1989-1990), would have been from Vermont.

 Our use of Blount PLM method, in particular for the Vermont sourced cosmetic talc samples,
 shows that Alice Blount was tight and that her method increases the sensitivity of the PLM
 analysis for the detection of amphibole asbestos.

 Dr. Blount published the use of the heavy liquid separation method in 1989/1990, however this
 was not a new technology for the analysis of cosmetic talc by PLM. Historical documents
 produced by J&J in this litigation shows that J&J was aware of the heavy liquid separation
 (“preconcentrating”) of talc for the detection of asbestos in the early 1970s.8 In 1973, a two

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 part heavy liquid separations method report, for both chrysotile and tremolite-actinolite fibers,
 was done by the Colorado School of Mines on behalf of Johnson & Johnson.7

 For this report, the Colorado School of Mines stated in their Summary and Conclusion section
 that the heavy liquid concentrates are examined by optical microscopy (PLM), and that “the
 procedure is capable of detecting fibers present at a level of approximately 10 ppm or less”.8
 A 10 ppm (parts per million) detection limit calculates to a weight percent of 0.001 % which is
 consistent with our Blount PLM analysis of <0.1 % for positive samples.

 In March of 1974, R.C. Reynolds Jr. wrote a report for Windsor Minerals Inc. entitled “Analysis
 of Talc Products and Ores for Asbestiform Amphiboles”.9 This method also used heavy liquid
 separation and PLM analysis. The purpose of the study was to “develop methods for measuring
 the concentration of asbestiform amphiboles in fine-grained talc products and talc ores”. The
 report concluded that using this method detected 170 ppm (0.017 weight percent) of actinolite
 in a talc product and 2,300 ppm (0.23 weight percent) of actinolite in the talc ore.

 Even though Johnson & Johnson was aware from as early as 1973 that the heavy liquid
 separation PLM method increased the sensitivity for the detection asbestos in talc, they never
 incorporated this method for the routine analysis of their talc sources. Even when Dr. Blount
 published her heavy liquid separation PLM method in 1990, J&J still did not incorporate this
 more sensitive PLM method for the detection of asbestos in their cosmetic talc products.

 It is clear from our data that the use of the Blount/PLM heavy liquid separation method
 increases the analytical sensitivity for the analysis of cosmetic talc samples like the JBP/STS
 products as compared to the ISO PLM method. Since some of the ISO 22262-1 PLMs were
 positive for the same samples that were non-detects by the Blount method, it’s recommended
 that both PLM methods should be used to evaluating cosmetic talc samples for asbestos.


 i3 Resources, Inc.

 Our ATEM results for the historical JBP/STS samples are in agreement with the J3 Resources, Inc.
 ATEM for the STS samples that they analyzed. For the nine J3 samples that we verified form
 their TEM grids, J3 also reported nine positive TEM samples and all contained regulated
 amphibole asbestos fibers/bundles. This correlates to 100 % agreement between the two labs
 for those nine samples.
 For the 49 asbestos fibers and or bundles reported by j3 in the 9 nine ATEM samples we
 examined, we verified 48 as regulated asbestos structures. This shows a 98 ¾ validation rate


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 between the labs. Additional analysis may in fact increase the overall verification percentage.
 Also, 90% of the regulated anthophyllite asbestos structures were bundles.
 The two J3 ATEM samples (20180061-65D and 20180061-OD) that MAS did not verify, were
 verified to contained amphibole asbestos by the Blount PLM method. Even though we did not
 verify these two J3 samples by ATEM, we did find that these two J&J containers/samples were
 positive for regulated amphibole asbestos. For this reason, 515 samples 20180061-65D and
 20180061-OD were added to the overall list of positive 1980s historical J&J 515 Vermont
 sourced talc containers.


 ATEM-lSO 22262-2 Method

 The ISO 22262-2 heavy liquid talc preparation method for the direct ATEM analysis of
 approximately 20 to 60 mg of talc on a 25 mm PC filter did not cause any significant overloading
 of the TEM grids with talc particles. The overall TEM grid particle loading was estimated at
 approximately 15 to 20 %. This consisted of talc particles and/or fibers as well as detectible
 amphibole asbestos. The ATEM results showed that out of the 7OJBP/515 and Imerys samples
 analyzed by ATEM, both the MAS and Lee Poye’s analyses, 42 were positive for either the
 tremolite solid solution series (tremolite, winchite, richterite and actinolite) in this case only
 tremolite was detected, and or the anthophyllite sold solution series (anthophyllite, iron-rich
 anthophyllite and cummingtonite) asbestos. Each of the tremolite or anthophyllite asbestos
 solid solution series amphibole mineral types are regulated asbestos.’8 Only iron-rich
 anthophyllite sold solution series asbestos structures was detected.

 If the same weight of talc (approximately 2Oto 60mg) had been directly filtered onto a 25mm
 PC filter, the TEM sample preparations would have been too severely overloaded with talc
 particles to be analyzed.

 The heavy liquid density ATEM sample preparations demonstrated the utility of the ISO 22262-
 2 talc method by increasing the analytical sensitivity of the typical ATEM bulk talc analysis for
 the potential detection of amphibole asbestos. For these analyses the analytical ATEM
 achieved sensitivity/detection limits ranging from approximately 3,000 9,400 fibers-  -




 bundles/gram of talc. It also increased the analyst’s efficiency without talc particle overloading
 issues.

 This TEM talc loading problem vs. analytical sensitivity issued was been solved by the use of the
 heavy liquid density procedure, and should be the standard protocol for TEM cosmetic talc
 analysis.

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   Current Intelligence Bulletin 62: “Asbestos Fibers and Other Elongated Mineral Particles”.
 State of the Science and Roadmap for Research” Revised Edition. NIOSH C1B62-Asbestos.
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 As compared to either the XRD or the two PLM methods, the ATEM provides the most sensitive
 method for the detection of regulated amphibole asbestos in cosmetic talc.

 Numerical Structure Count vs. Weight Percent

 Our ATEM analysis showed that the asbestos fiber/bundle concentration, in the 41 positive
 samples ranged from approximately 4,400 to 268,000 fibers-bundles per gram of talcum
 powder. These positive results were also reported in weight percent that is based on a
 mathematical calculation. Also the analytical sensitivity or detection limit for the weight
 percent used here was based on the average size of all amphibole asbestos structures detected
 (187) in the 41 positive ATEM samples. This average size was determined to be 12.1 pm x 1.1
 pm, with an aspect ratio of 11:1.

 However, just reporting ATEM weight percent data does not provide any useful information for
 determining potential airborne exposure to asbestos structures of the bulk talc material being
 tested. The Introduction to the ISO 10312 Ambient Air TEM Method states the reasoning for
 this:

 “Because the best available medical evidence indicates that the numericalfibre concentration
 and the fibre sizes are the relevant parameters for evaluation of the inhalation hazards, afibre
 counting technique is the only logical approach”.

 Also, reporting the analytical sensitivity in weight by the ATEM method is very misleading since
 it is based on the theoretical mathematical calculation of one minimal fiber size which can give
 a computed analytical sensitivity in the millionths of a percent range. The misleading part of
 this is that in order to find that one small fiber during the ATEM analysis, you must have a real
 numerical fiber-bundle concentration per gram of talc for the analysis to possibly find that one
 fiber, otherwise this ATEM theoretical analytical sensitivity expressed in weight percent is
 meaningless.

 An example of this problem can be found with the 2010 FDA report of the testing of cosmetic
 talcs that is published on their website. In that report, FDA states a TEM average limit of
 detection of 0.0000021% wt. or 2.1 x 10 6,19 However, when the ATEM analytical sensitivity was
 calculated from actual AMA TEM bench sheets, the numerical fiber concentration needed to
 find that one fiber was 13,500,000 fibers per/gram of talc.2° A one fiber analytical sensitivity of
 that magnitude would have caused all of the ATEM analyses reported here to be non-detects.



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      WWW.FDA.gOV.
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      AMA Analytical Services, Inc. Report of Cosmetic Grade Talc, 2010.
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  Crystalline Habit and Asbestiform Definitions

  Each of the analytical protocols referenced in this report (PLM and TEM) all have a definition for
  asbestiform that is some variation of the following statement:

 Asbestiform: specific type of mineralfibrosity in which the fibers and fibrils possess high tensile
 strength and flexibility.’3

 This definition of asbestiform in these protocols is only a general geological definition that
 might be used in the field to evaluate a particular commercial asbestos mine site, because the
 more fibrous, the greater economic value of the mine.

 If this wasn’t meant to be a general geological definition, then the methods would have
 incorporated into the counting protocols the procedures necessary for the determination or
 measurement of either the tensile strength or flexibility of the microscopic asbestos fibers and
 bundles. Of course, the methods do not measure flexibility or strength since that type of
 measurement is impossible by either PLM or ATEM. None of these methods even define what
 high tensile strength is, or how many measurements constitute a population. Interesting
 enough, as compared to the commercial forms of asbestos (chrysotile, amosite and crocidolite),
 both tremolite and anthophyllite asbestos have low tensile strength and poor flexibility and yet
 are regulated asbestos fibers.2’

 Also, the vast majority of the fibrous amphibole asbestos structures reported here were
 bundles (as defined by parallel fibers in an asbestos structure that are closer than one fiber
 diameter to each other.

 It is unreasonable to think that breaking up a non-fibrous asbestos can form multiple individual
 fibers all in close proximity and parallel to each other and.that meets the definition of a bundle.
 That is why fibrous mineral bundles have been recognized in the published literature as
 asbestiform for many years.

 In Blount’s publication, she states the following:

 “In addition, the tendency to bring down a disproportional number of larger particles has the
 true asbestiform amphiboles one generally sees some particles showing bundles offibrils which
 removes any doubt about the nature of the amphibole”.5




 21
      “Asbestos in Ontario, Ontario Department of Mines and Northern Affairs.” Industrial Mineral Report 36, 1971.


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 Dr. Wiley in her 1999 ASIM International publication stated that the finding of bundles shows
 that the structure should be considered asbestiform.22

 The total amount of regulated asbestos structures counted in the 42 positive ATEM samples
 was 187 bundles and fibers. Asbestos bundles, as compared to fibers, was approximately 96 %
 of the regulated asbestos structures counted in the ATEM positive samples.

 By definition, these asbestos bundles are all classified as asbestiform. Nevertheless, all fibers
 and bundles reported by the ATEM method are regulated asbestos structures regardless of the
 geological definition for asbestiform.

 For the single tremolite or anthophyllite fibers reported here, they all have been verified as to
 have formed in a fibrous crystalline habit since they are both fibrous and crystalline as well as
 meet the health based counting rules for regulated asbestos. 23

 Aspect Ratio

 Another aspect that must be considered is the milling process that is required to produce
 cosmetic grade talc and how it effects the overall asbestos size distribution and aspect ratios.
 This milling effects the asbestos size distribution in taics was first discussed by RohI, et al. in
 1976.24 In their publication the authors discuss how the talc milling process will break large
 fibers into a new size distribution in the submicroscopic range.

 The average aspect ratio of the regulated asbestos tremolite and anthophyllite fibers and
 bundles measure by our ATEM analysis was approximately 11:1. This average aspect ratio was
 consistent with Campbell data for milled tremolite and anthophyllite asbestos. Our measured
 average aspect ratios were also consistent with Blount’s data for tremolite asbestos reported in
 sample I (identified as JBP).4’ 25

 For just the tremolite asbestos structure aspect ratios reported here, are also consistent with
 the NIST tremolite asbestos standard, Blount’s tremolite asbestos findings for the off the shelf
 cosmetic talc container she tested, Campbell’s milled tremolite asbestos and [anger & Nolan’s


 22
    A.G. Wylie “The Habit of Asbestiform Amphiboles: Implications for the Analysis of Bulk Samples”, ASTM
 Advances in Environmental Measurements Methods for Asbestos, STP 1342, Jan. 2000.
 23
    Manual of Mineralogy, Twenty-First Edition, Revised, Cornelis Klein and Cornelis S. Hurlbert, Jr., John
 Wiley and Sons, 1999.
 24
    RohI, et al., “Consumer Talcum and Powders: Mineral and Chemical Characterization”, Journal of Toxicology and
 Environmental Health, 2: pp. 255-284, 1976.
 25
    Bureau of Mines Information Circular/Dept. of the Interior, Campbell, W.J., Blake, R.L., Brown, LI., Cather, E.E.
 and Sjoberg, J.J.: United States Department of the Interior, “Selected Silicate Minerals and Their Asbestiform
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 published tremolite asbestos aspect ratio of 10.9 to 1. In the Blount publication, it was
 reported that the average aspect for non-asbestiform tremolite (cleavage fragments) was
 approximately 2:1.

 Asbestiform tremolite/anthophyllite aspect ratio summary is as follows:

     1.   MDL ATEM analysis:         11:1
     2.   Blount                :     9:1
     3.   Campbell              :     9:1
     4.   Langer                :    11:1
     5.   J&J 3/11/2018         :    10:1
     6.   NIST 1875 Ire. Std.   :    10:1

 All of these independent laboratory tremolite asbestos aspect ratio data shows that the
 tremolite and anthophyllite structures detected by our ATEM analysis shows that they are in
 fact asbestiform.

 As anticipated and discussed below, neither chrysotile nor non-iron containing anthophyllite
 asbestos was found in any of the samples that were analyzed by ISO 22262-02 ATEM analysis.


 So Called Background Asbestos

 Of the 42 positive ATEM amphibole asbestos samples analyzed by MAS, nine of the ]BP/5IS
 talcum powder samples had only one amphibole asbestos fiber or bundle detected in 100 grid
 openings which represents the analytical sensitivity/limit of detection for this analysis.

 Because tremolite/anthophyllite are non-commercial accessory amphibole minerals and are
 associated with talc, which is known to contain varying amounts of amphibole asbestos such as
 tremolite or anthophyllite, any positive findings are scientifically valid due to the amphibole
 minerals present in the talc.

 There are no known commercial asbestos-containing products that used tremolite as an added
 ingredient, and only one specialty product ever used anthophyllite asbestos (corrosive resistant
 polymer chemical piping used at some chemical processing plants).

 Further, there are no commercial amphibole tremolite/anthophyllite mines in North America,
 and tremolite and anthophyllite asbestos is not routinely analyzed at trace levels by typical
 commercial TEM laboratories. For these reasons it can be stated that: 1) there are no
 background air levels of tremolite/anthophyllite that could have interfered with or
 contaminated our JBP/STS and Imerys talcum sample analysis, and 2) for each set of JBP/ST5
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  and Imerys talcum samples that were prepared and analyzed at this laboratory a process
  laboratory blank was prepared simultaneously to determine if there was any possible cross-
  contamination. 26,27

 When these process laboratory blanks were analyzed by ATEM, no asbestos, including either
 tremolite, chrysotile or anthophyllite asbestos structures were found. Therefore, it can be
 stated that there was no cross-contamination during sample preparation of the JBP/STS talcum
 powder samples. Also, it is not our expectation that tremolite/anthophyllite asbestos would
 become a part of these homogenized talc products at a level identified as a matter of
 contamination prior to our custody of the samples. To do so would be practically impossible.

 Also, these historical 72 JBP/STS containers and Imerys railroad samples came from their
 respective archived facilities. It is reasonable that the talcum powder in either the J&J
 containers or the Imerys railroad car samples were authentic and original to the specified date
 of manufacture (J&J containers) or time of product processing (Imerys). That is the talcum
 powder contained in these historical J&i container samples we analyzed, was the original
 talcum powder that was put into the container by ]&J.


 Non-Detects

 For the 70 JBP (with Asian)/STS and Imerys talcum powder samples analyzed, ATEM
 results for 28 JBP/STS and Imerys talcum powder samples were less than the limit of
 detection of approximately 3,000 to 9,400 amphibole fibers/bundles per gram of talc. This
 result cannot be characterized to mean the samples do not contain amphibole asbestos.
 Rather, it can only be said that if there is any amphibole asbestos present, the number of
 fiber and bundles per gram of talc are at less than the detection limit for the ISO 22262-2
 heavy liquid separation ATEM analysis used by this laboratory.

 Chrysotile and Anthophyllite

 As anticipated, neither chrysotile nor non-iron containing anthophyllite asbestos was found in
 any of the 70 samples that were analyzed by the ISO 22262-02 ATEM analysis. However, iron-
 rich anthophyllite was detected by ATEM because of its increased density.




 26
    R.F. Dodson, M.F. O’Sullivan, D.R. Brooks and JR. Bruce, “Asbestos content of Omentum and Mesentery in Non-
 occupationally Exposed Individuals”, Toxicology and Industrial Health, 2001: 17: pp. 138-143.
 27
    Ri. Lee, D.R. Van Orden, “Airborne Asbestos in Buildings”, Regulatory Toxicology and Pharmacology, 50 (2008)
 pp. 217-225.
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 As with the ATEM method used here, the Blount PLM also uses heavy liquid separation in the
 sample preparation methodology.

 The following is an explanation for the ATEM and Blount PLM chrysotile and anthophyllite
 results.


 ATEM Chrysotile Separation

 The ATEM heavy liquid method is specific for the asbestos tremolite solid solution series and
 the iron-rich anthophyllite solid solution series. The reason for this is that the heavy liquid
 solutions used for ATEM talc separation process had a density of 2.85 g/cm3. Therefore, any
 minerals with a similar density or lower would not be separated by this method such as
 chrysotile, which has a density of between 2.5 to 2.6 g/cm3. 28 The density for chrysotile is
 0.020 g/cm3 to 0.025 g/cm3 less than the heavy liquid density used for the ATEM method and
 therefore, chrysotile asbestos would likely not be separated during JBP/STS and Imerys talcum
 sample preparation process.

 As with the chrysotile non-detects reported here and in well over a hundred cosmetic talc
 analyses performed by MAS, the ATEM heavy liquid method has never detected chrysotile
 asbestos in the talcum powder, nor would we expect to have a positive result for chrysotile.

 ATEM Anthophyllite Solid Solution Series Separation

 The density of anthophyllite ranges from 2.85 to 3.20 g/cm3. This range of densities is primarily
 due to the addition of iron (Fe) into the chemical structure. For example, anthophyllite is part
 of a solid solution series (anthophyllite, iron-rich anthophyllite, ferro-anthophyllite,
 cummingtonite and grunerite) with a chemical formula of Mg75i8022(OH)2 to approximately
 Fe7MgsSigO22(OH)2. Without Fe being present, the density of anthophyllite would be at the
 lower end of the density gradient of 2.85 g/cm3. Again, since anthophyllite is a solid solution
 series, the amount of iron atoms that can be substituted into the molecular formula of
 anthophyllite depends on the iron content of the surrounding rocks. This iron atom substituted
 could be 0, 1, 2 or higher which accounts for the range of anthophyllite densities described
 here.

 With a low to non-iron anthophyllite density of approximately 2.85 to 2.86 or 2.87 g/cm3, which
 is the same or very close as the heavy liquid used for the ATEM analysis, one would not expect
 much separation of this type of either low-iron or non-iron containing anthophyllite from the


 28
  Manual of Mineralogy, Twenty-First Edition, Revised, Cornelis Klein and Cornelis S. Huribert, Jr., John
 Wiley and Sons, 1999.
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 talcum powders using the 150 22262-2 ATEM method and typically would not be detected by
 our analysis if present.

 As expected, all of the anthophyllite series asbestos structures detected in these talcum
 powder samples by ATEM were iron-rich; no low iron or non-iron anthophyllite was detected in
 any of the ATEM samples. For the Vermont talc sourced samples, only three samples contained
 detectable amounts tremolite series asbestos fibers/bundles. However, this does not mean
 actinolite/tremolite is not present in significant concentrations in the Vermont talc mines. The
 ISO 22262-2 and Blount/PLM analysis detected regulated actinolite/tremolite asbestos in 30 of
 the JBP/STS containers and Imerys railroad car samples. These results is further verification of
 the utility of using both PLM (with and without heavy liquid separation) and ATEM for analyzing
 cosmetic talc samples.

 Blount PIM Separation

 As described above, the ATEM detected only iron-rich anthophyllite asbestos primarily in the
 Vermont-sourced talcum powder samples which is consistent with the Blount PLM results.
 Comparing the type of asbestos detected (tremolite and anthophyllite) between the Blount
 PLM and ATEM analysis where the same sample is positive by both methods, the asbestos types
 found (either anthophyllite and or actinolite/tremolite) can be different between the two as
 already discussed in this report.

 For example, the analysis for the historical JBP/STS and Imerys samples, showed a number of
 samples where the only type of asbestos detected by ATEM was the iron-rich anthophyllite,
 while the Blount PLM not only detected the anthophyllite but also detected
 actinolite/tremolite. This amphibole asbestos detection difference between the two methods
 may at times be a function of the different heavy liquid densities used for the Blount/PLM and
 ATEM protocols.

 The Blount PLM protocol specifies a heavy liquid density of 2.810 g/cm3 as compared to the
 150 22262-2 ATEM method that uses a heavy liquid density of 2.85 cm3. This difference of 0.04
 g/cm3 is lower than the density of a low to non-iron anthophyllite. This lower density liquid
 used in the Blount PLM method would likely be more efficient in separating out the tremolite
 than the higher density liquid used by the ATEM method. Quite simply, the actinolite/tremolite
 structures would sink faster in the lower density liquid used by the Blount/PLM method. Also,
 the lower density liquid would be more efficient in separating out the low to non-iron
 anthophyllite asbestos.

 This difference in the heavy liquid density between the two methods maybe explain why the
 number of positive Blount/PLMs for amphibole asbestos and the corresponding ATEM
 amphibole asbestos analysis were non-detect.
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 This density difference coupled with the ATEM’s bias to the large amphibole asbestos bundles
 detected by the PLM method shows how important it is to use both of these methods when
 analyzing cosmetic talc samples.

 These overall results are both consistent with and validates our earlier March 11, 2018
 Supplemental JBP/STS Report and subsequent analysis of plaintiffs’ personal JBP/STS
 containers.

 However, for our testimony, we will only be relying on this report and any future supplemental
 reports involving the analysis of historical JBP/STS and Imerys containers and samples except
 for the earlier two JBP samples used in both our Below the Waist and Baby powdering studies.

 These results are also consistent with MVA’s analysis of talc ore samples from both the Italian
 and Vermont talc mines where originally the samples were collected by or on behalf of
 defendant experts.29’3°

 Also, our analytical results are consistent with the historical analysis of both Johnson &
 Johnson’s product samples as well as the analysis of talc ore from both the Italian and Vermont
 mines that have been performed in the past.31’32’33’34’35’36’37’38’39’4°

 In addition to the above references, we are also relying on the current MAS Johnson & Johnson
 reliance document list that contains 102 references.41




 29
     D.R. Veblen and C.W. Burnham, “New Biopyriboles Chester, Vermont: I. Descriptive Mineraology”, American
  Mineralogist, 63: 1000-1009, 1978.
 30
    R.L. Virta, “The Phase Relationship of Talc and Amphiboles in a Fibrous Talc Sample, Bureau of Mines Report of
  Investigations 8923, United States Department of the Interior, 1985.
 31
    November 26, 1990 McCrone Environmental Services Report to Michael J. Keener from Kent Sprague concerning
 Samples CWM 90-28, 9-29 and 90-30
 32
    New Reageant Systems-Plant Trial at Windsor Minerals, Inc.
    March, 1974 Memo to: Windsor Minerals, Inc., Windsor, Vermont From R.C. Reynolds, Jr. Department of Earth
 Sciences, Dartmouth College, New Hampshire
    Forensic Analytical: Quantitative Analysis Report, Asbestos in Bulk Material.
    May 15, 1984 MSHIA visit to Cyprus Industrial Minerals Company, South Plainfield Mill.
 36
    Nov. 19, 1975 McCrone Assoc., Inc. Letter to Mr. Vernon Zeitz from Gene Grieger concerning talc orr sample
 analysis.
    Env. Consultant Report to Johnson & Johnson, April 1, 1977
    EMV Consultant Report to Johnson & Johnson, April 1, 1977
    Jan. 30, 1987 to J.A. Molnar and R.N. Miller from Joseph Schmidt Talc Analysis.
 40
    March 14, 1988 to Mathew A. Nunes from Al Dickey, R.J. Lee Group Ref: Talc Samples 879-57 Talc C.
 41
    Johnson & Johnson Reliance and Reviewed Documents (95).
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  The ATEM and ISO PLM analysis also showed that the majority of the JBP/STS talcum powder
  samples contained fibrous (asbestiform) talc as compared to the platy talc that is present in all
  of JBP/STS and Imerys talcum powder samples. It has been reported by others that fibrous talc
  is a geological metamorphic transformation of anthophyllite to fibrous talc.42’43

                                                     Conclusion
  All Italian or Vermont talc sourced samples that were analyzed by XRD for asbestos were found
  to be negative or non-detect. These results show that the XRD method is not a useful tool at all
  for analyzing cosmetic talc samples (Italian or Vermont sourced talc) for the presence of
  asbestos amphiboles. Both the ISO and Blount PLM methods have better analytical sensitivities
  than XRD for these types of samples. It would be highly recommended that the Stimuli Group
  drop any consideration of using the XRD for their rewrite of USP 40 method.44

 The use of the ISO 22262-1 PLM analysis was not as sensitive as the Blount PLM method, but
 both methods have their strengths and weakness. On one hand the Blount PLM method has
 higher sensitivity, but is limited by the type of anthophyllite asbestos it can detect. The ISO
 PLM has lower sensitivity, but can detect the entire anthophyllite solid solution series. Also,
 these two PLM methods can detect the very large bundles that are typically missed by the
 ATEM analysis. There are few examples where the sample was positive by PLM and negative by
 ATEM.

 It is recommend then that both the ISO PLM and the Blount method should be used as a
 screening tool for cosmetic talc analysis. Negative samples should then be required to be
 analyzed by the heavy liquid density ATEM method, which is still the best tool for these types of
 analysis.

 Our ATEM analysis showed that the Italian and Vermont talc mines have a very distinct
 asbestos type profile from each other when analyzed by this method. The historical samples
 from the Italian mine contained primarily regulated tremolite asbestos fibers/bundles while the
 Vermont mine contained primarily anthophyllite asbestos. However, for the MDL samples that
 contained Vermont sourced talc, the PLM results show that only six positive samples contained
 anthophyllite only, the rest of the positive PLM samples, for the two methods, had detectable
 amounts of regulated actinolite/tremolite asbestos. These results show that anthophyllite
 asbestos maybe more prevalent in Vermont talc when analyzed by ATEM, but significant
 concentrations of actinolite/tremolite asbestos is also present as shown in the PLM analysis.



 42
      MVA Report: MVA1173O “Investigation of Italian Talc Samples for Asbestos”, August 1, 2018.
 “
      MVA Report: MVA12588 “Investigation of Talc Samples for Asbestos” April 23, 2018.
      Stimuli to the Revision Process-Modernization of Asbestos Testing in USP Talc.
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                                                                               WMAS
 It is clear from these results that the three talc mines (Italian, Vermont and Korean) J&J used to
 manufacture their historical talcum powder products all contain asbestiform/regulated
 amphibole asbestos structures.

 These overall results are both consistent and validates our earlier March 11, 201$ Supplemental
 JBP/STS Report and subsequent analysis of plaintiffs’ personal JBP containers.

 The most sensitive analytical method was ATEM with the ISO 22262-02 heavy liquid separation.
 It detected 42 positive samples out of the 7OJBP/STS and Imerys’ talcum powder samples with
 a range in concentration of from approximately 4,400 fibers-bundles/gram to 268,000 fibers-
 bundles/gram of talc. Both tremolite series and anthophyllite series regulated asbestos were
 found in these samples.

 There was a total of 50 positive containers (ATEM and PLM combined) out of the 72 tested that
 gave an overall 69 % positive result for the historical JBP/STS containers and Imerys’ railroad car
 samples that were tested for this report.

 These results are also consistent with our past analysis of Johnson & Johnson cosmetic talc
 samples that contained tremolite and anthophyllite regulated asbestos fibers, and with MVA’s
 analysis of both the Italian and Vermont talc mine ore samples.

 Based on the results of our analysis, it is our opinion that individuals who used Johnson &
 Johnson talcum powder products (Johnson’s Baby Powder and Shower to Shower) in the past
 would have, more likely than not, been exposed to significant airborne levels of both regulated
 amphibole asbestos and fibrous (asbestiform) talc.




   -



 William E. L’go, Vli.D.                              Mark W. RigIe/Ph.D.
 President                                            Chief Scienc Officer and Senior Consultant




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                                                     Table 2

                             Summary of Results for Johnson & Johnson’s
                                1960’s Historical JBP & STS Samples

 MAS                                      Amphibole       Amphibole       Analytical
                                Year of                                                       PLM        Blount PLM
Sample      Client Sample ID               Asbestos      Asbestos wt.     Sensitivity
                                 Mnfr.                                                      wt. %           wt. %
Number                                    Structures/g         %         Structures/g

M68503-      2018-0060-04
                                 1960       31,400         0.00056          8,500            NAD        <0.1 Trem/Act
O1OJBP         JBP167
M68503-      2018-0060-03
                                 1962       17,700        0.0000057         8,800            NAD        <0.lTrem/Act
OO9JBP         JBP 166
M68503-      2018-0060-76
                                 1963       <8,972        <0.0000268        9,000            NAD             NAD
024JBP         JBP 119
M68503-      2018-0056-25
                                 1964       <2,990        <0.0000268        3,000       <0.1 Trem/Act        NAD
OO4JBP         JBP232
M68503-      2018-0060-20
                                 1965       17,300         0.000044         8,700            NAD             NAD
O14JBP         JBP 183
M68503-      2018-0060-06
                                 1966       <6,072        <0.0000268        6,100            NAD             NAD
011 JBP        iSP 169
M68503-      2018-0061-09
                                 1966       <2,998        <0.0000268        3,000           NAD             NAD
027 STS        STS 043
M68503-      2018-0060-44
                                 1967        8,930         0.000045         8,900           NAD             NAD
O19JBP         JBPO87
M69042-       20180056-3 1
                                 1967       18,000        0.0000033         9,000           NAD             NAD
OO3JBP          JBP238
M69042-       20180060-25                                <0.0000268
                                 1967       <8,740                          8,700           NAD             NAD
OO5JBP          iBP188
M69042-       20180060-49                                <00000268
                                 1967       <5,932                          5,900           NAD             NAD
OO6JBP          JBP092
M69042-      20180060-50                                 <0.0000268
                                 1967       <5,930                          5,900           NAD             NAD
007 JBP        JBP 093
M68503-      2018-0061-40                                <0.0000268
                                 1968       <3,045                          3,050           NAD             NAD
038JBP         STSOO4
M68503-      2018-0061-08
                                 1969      268,000         0.0064           8,650       <0.1 Trem/Act   <0.1 Trem/Act
026 STS        STS 042




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                                                M68503-O1O
                                                                          Structure      Asbestos
     Str. #      Length (urn)        Width (&m)         Aspect Ratio

       -1             7.0                0.7                 10.0          Bundle       Tremolite
       -2            12.0                0.9                 13.3          Bundle       Tremolite
       -3            20.0                3.5                 5.7           Bundle       Tremolite
       -4             3.7                0.5                 7.4           Bundle       Tremolite
                                     Average Aspect Ratio: 9.1


                                               M68503-009
                                                                          Structure     Asbestos
     Str. #      Length (i.tm)       Width (urn)        Aspect Ratio

      -1             3.8                 0.72                5.3           Bundle       Tremolite
      -2             3.5                0.42                 8.3           Bundle       Tremolite
                                     Average Aspect Ratio: 6.8


                                               M68503-014
                                                                          Structure     Asbestos
    Str. #       Length (urn)        Width (tim)        Aspect Ratio

      -1             8.6                 1.3                 6.6           Bundle       Tremolite
      -2             7.9                0.84                 9.4           Bundle       Tremolite
                                     Average Aspect Ratio: 8.0




                                               M68503-019
                                                                         Structure    Asbestos
  Str. #         Length (tim)        Width (tim)      Aspect Ratio

      -1            20.0                 1.0                20.0           Bundle     Anthophyllite
                                 Average Aspect Ratio: 20.0



                                               M69042-003
                                                                         Structure      Asbestos
    Str. #      Length (tim)         Width (tim)        Aspect Ratio

      -1            4.52                0.44                10.3           Bundle       Tremolite
      -2             3.4                0.42                 8.1           Bundle     Anthophyllite
                                 Average Aspect Ratio: 9.2


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                                                                                  1’MAS
                                                M68503-026
                                                                            Structure      Asbestos
         Str. #       Length (urn)    Width (tm)       Aspect Ratio

           -1             7.1            0.4                 17.8            Bundle        Tremolite
           -2            10.6            1.8                 5.9             Bundle        Tremolite
           -3             3.1            0.23                13.5             Fiber        Tremolite
           -4             7.6            0.8                 9.5             Bundle        Tremolite
           -5             3.2            0.5                 6.4             Bundle        Tremolite
           -6             7.3            1.2                 6.1             Bundle        Tremolite
           -7             7.3            0.7                 10.4            Bundle        Tremolite
           -8             9.8            1.8                 5.4             Bundle        Tremolite
           -9             4.3            0.8                 5.4             Bundle        Tremolite
          -10             7.0            0.8                 8.8             Bundle       Tremolite
          -11             7.4            1.1                 6.7             Bundle        Tremolite
          -12            13.3            0.7                 19.0            Bundle       Tremolite
           13             3.7           0.45                 8.2             Bundle       Tremolite
          -14             3.4            0.6                 5.7            Bundle        Tremolite
          -15             3.2           0.23                 13.9           Bundle        Tremolite
          -16            30.8            4.0                 7.7            Bundle        Tremolite
          -17             2.8            0.5                 5.6            Bundle        Tremolite
          -18             7.9           0.92                 8.6            Bundle        Tremolite
          -19            7.5             0.8                 9.4            Bundle        Tremolite
          -20             3.9            0.6                 6.5            Bundle        Tremolite
          -21            4.1             0.6                 6.8            Bundle        Tremolite
          -22            3.0            0.46                 6.5            Bundle        Tremolite
          -23            24.4            3.0                 8.1            Bundle        Tremolite
          -24            6.5             1.1                 5.9            Bundle        Tremolite
          -25            8.6            0.92                 9.3            Bundle        Tremolite
          -26            27.6            3.7                 7.5            Bundle        Tremolite
          -27            18.4            2.3                 8.0            Bundle        Tremolite
          -28            75.9            4.6              16.5              Bundle        Tremolite
          -29            9.2             1.4                 6.6            Bundle        Tremolite
          -30            4.6             0.7                 6.6            Bundle        Tremolite
          -31            6.9             1.0                 6.9            Bundle        Tremolite
                                     Average Aspect Ratio: 8.7




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                                                           Table 3

                               Summary of Results for Johnson & Johnson’s

                                      1970’s Historical JBP & STS Samples

  MASh3                                          Amphibole                         Analytical
                                     Year of                    Amphibole                           ISO PLM         Blount PLM
  Sample        Client Sample ID                  Asbestos                         Sensitivity
                                     Mnfr.                     Asbestos wt. %                         wt.%             wt.%
 Number                                         Structures/g                      Structures/g
M68503-005        2018-0056-30                                  <0.0000268
                                      1970        <8,778                             8,780            NAD               NAD
    JBP                JBP 237
M69042-009         20180060-68                                  <0.0000268
                                      1970        <6,371                             6,370       <0.1 Trem/Act          NAD
    JBP                JBP 111
M68503-029        2018-0061-17                                  <0.0000268
                                      1971        <8,417                             8,400            NAD               NAD
    JBP                STS 051
M58503-021        2018-0060-54                                  <0.0000268
                                      1972        <5,918                             5,920            NAD               NAD
    JBP               JBP 097
M68503-023        2018-0060-64
                                      1973         8,760         0.000017            8,730         <0.1 Anth         <0.1 Anth
   JBP                 JBP1O7
M68503-028        2018-0061-12
                                      1974        17,500         0.000098            5,800           NAD             <0.lAnth
    STS               STS 046
   02D           20180061-020
                                      1975        <9,400        <0.0000268           0,400          P3-NAD              NAD
   STS               STS1611A
M69042-001       20180056-02D                                                                    <0.1 Trem/Act
                                      1975        22,400         0.000232            4,470                         <0.1 Trem/Act
   JBP                JBP 209                                                                      <0.1 Anth
M68503-046        2018-0061-57
                                      1975        <5,863        <0.0000268           5,900           NAD               NAD
   STS                STS 021
M68503-042        2018-0061-49                                                                   <0.1 Trem/Act
                                      1976        23,600          0.0024             5,890                         <0.1 Trem/Act
   STS                STS 013                                                                      <0.1 Anth
M68233-001      2018-0015-O1A1
                                      1978         7,240          0.00001            7,240       <0.1 Trem/Act     <0.1 Trem/Act
   JBP                JEP 084
M58233-002      2018-0015-01A2
                                      1978        22,130          0.00023            7,400       <0.1 Trem/Act     <0.1 Trem/Act
   JBP                JBP 084
M68503-057        2018-0070-10                                                                   <0.1 Trem/Act
                                      1977         8,360         0.000038            8,360
   JBP         2014.001.0612iBP                                                                    <0.lAnth
M68503-020        2018-0060-53                                                                   <01 Trem/Act
                                     1978         34,800         0.000053            8,690                         <0.1 Trem/Act
   JBP                JBP 096                                                                      <0.1 Anth
M69042-002        20180056-06                                                                    <0.1 Trem/Act     <0.1 Trem/Act
                                     1978         63,800         0.00048            9,120
   JBP                JBP 213                                                                      <0.lAnth          <0.lAnth
M69042-004        20180056-34                                                                    <0.1 Trem/Act     <0.lTrem/Act
                                     1978         18,000         0.000012           6,020
   JBP                JBP 241                                                                      <0.1 Anth         <0.1 Anth
M69042-008        20180060-67
                                     1978         18,100         0.00086            6,020          <0.1 Anth         <0.1 Anth
   JBP                JBP 110
   07D           20180070-070
                                     1978         82,000         0.00073            9,100           J3-NAD
   STS           2014.001.0397                                                                                       0.5 Anth
   150           20180061-15D
                                     1978         61,000          0.0013            8,700           J3-NAD         0.3 Trem/Act
   STS                STS 049
   500           20180061-500
                                     1978         <9,300        <0.0000268          9,300           J-3NAD           <0.1 Anth
   STS              STS 1605A
M68503-059     2018-0070-16 JBP                                                                  <0.1 Trem/Act     <0.1 Trem/Act
                                     1979         17,100         0.00024            8,560
   JBP           2014.001.1363                                                                     <0.lAnth          <0.lAnth
        NAD: No asbestos detected   J3NAD: Samples analyzed by Lee Poye

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                                               M68503-023
                                                                       Structure
    Str. #      Length (urn)         Width ft.tm)     Aspect Ratio                 Asbestos Type
                                                                         Type
     -1             12.0                 0.8              15.0          Bundle      Anthophyllite
                                        Average Aspect Ratio: 10.7


                                               M68503-028
                                                                       Structure
   Str. #       Length (urn)         Width (i.cm)     Aspect Ratio                 Asbestos Type

     -1             18.8                 1.8              10.4          Bundle     Anthophyllite
     -2             5.7                  0.4              14.3          Bundle     Anthophyllite
     -3             6.0                  0.9                6.7         Bundle     Anthophyllite
                                 Average Aspect Ratio: 10.5

                                               M69042-001
                                                                       Structure
   Str. #       Length (urn)     Width (urn)          Aspect Ratio                 Asbestos Type

     -1             14.4                 0.4              36.0           Fiber     Anthophyllite
     -2             2.3                  0.4                5.8          Fiber     Anthophyllite
     -3             15.7                 2.0                7.9         Bundle     Anthophyllite
     -4             10.0                 0.2                50           Fiber     Anthophyllite
     -5            22.5                  2.5                9           Bundle     Anthophyllite
                                 Average Aspect Ratio: 21.7

                                               M68503-042
                                                                      Structure
   Str. #      Length (urn)      Width (urn)          Aspect Ratio                 Asbestos Type

     -1            19.0                  2.0              9.5           Bundle     Anthophyllite
     -2            29.0                  2.0              14.5          Bundle     Anthophyllite
     -3             6.7                  0.8              8.4           Bundle     Anthophyllite
     -4            40.0                  6.0              6.7           Bundle     Anthophyllite
                                     Average Aspect Ratio: 9.8

                                               M68233-001
                                                                      SttLre
   Str. #      Length (urn)      Width (urn)          Aspect Ratio                 Asbestos Type

     -1             6.8                 0.9               7.6            Fiber     Anthophyllite
                                     Average Aspect Ratio: 7.6

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                                               M6$233-002
                                                                       Structure
    Str. #      Length (pm)          Width (i.rm)     Aspect Ratio                 Asbestos Type

     -1             27.7                 0.7              36.7          Bundle     Anthophyllite
     -2             16.4                 2.6                6.3         Bundle     Anthophyllite
     -3              7.6                 0.5              15.2           Fiber     Anthophyllite
                                     Average Aspect Ratio: 19.4



                                               M68503-057
                                                                      Structure
   Str. #       length (.tm)         Width (i.cm)     Aspect Ratio                 Asbestos Type

     -1             8.0                  1.5              5.3           Bundle        Tremolite
                                     Average Asoect Ratio: 5.3



                                               M68503-020
                                                                      Structure
   Str. #       Length (i.tm)    Width (gm)           Aspect Ratio                 Asbestos Type

     -1             8.5                 0.42              20.2          Bundle     Anthophyllite
     -2             2.7                 0.44              6.1           Bundle        Tremolite
     -3             4.62                0.62              7.5          Bundle      Anthophyllite
     -4             21.1                0.98              21.5         Bundle      Anthophyllite
                                 Average Aspect Ratio: 13.8


                                               M69042-002
                                                                      Structure
   Str. #      Length (i.tm)     Width (gm)           Aspect Ratio                 Asbestos Type

     -1             35.4                 1.8              19.7         Bundle      Anthophyllite
     -2             12.4                 1.1              11.3         Bundle      Anthophyllite
     -3             6.4                  1.1              5.8          Bundle      Anthophyllite
     -4             6.0                  0.7              8.6          Bundle      Anthophyllite
     -5            34.5                  1.1             31.4          Bundle      Anthophyllite
     -6             11.5                 1.2              9.6          Bundle      Anthophyllite
     -7             11.5                 1.0              11.5         Bundle      Anthophyllite
                                 Average Aspect Ratio: 14.0




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                                               M69042-004
  Str. #        Length (i.tm)        Width (i.tm)   Aspect Ratio     :tLre        Asbestos Type

      -1            13.4                 0.4              33.5          Fiber      Anthophyllite
      -2            4.2                 0.38              11.1          Bundle    Anthophyllite
      -3            13.4                0.63              21.3          Bundle    Anthophyllite
                                 Average Aspect Ratio: 21.9




                                               M69042-OO$
    Str. #                                                            Structure
               Length (.tm)      Width (urn)          Aspect Ratio                Asbestos Type

     -1             3.9                  0.5              7.8          Bundle     Anthophyllite
     -2             7.8                  1.5              5.2          Bundle     Anthophyllite
     -3             5.3                  0.5             10.6          Bundle     Anthophyllite
                                     Average Aspect Ratio: 7.9




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                                                    070
                                                                            Structure       Asbestos
    Str. #       Length (p.tm)       Width (itm)          Aspect Ratio

      -1              3.5                 0.25                 14             Fiber       Anthophyllite
      -2             6.0                  0.4                  15            Bundle       Anthophyllite
      -3             7.5                  0.2                 37.5           Bundle       Anthophyllite
      -4             11.0                 0.6                 18.3           Bundle       Anthophyllite
      -5             4.0                  0.25                 16            Bundle       Anthophyllite
      -6             14.0                  1.1                12.7           Bundle       Anthophyllite
      -7             8.5                  0.4                 21.3           Bundle       Anthophyllite
      -8             9.0                  0.7                 12.9           Bundle       Anthophyllite
                                 Average Aspect Ratio: 18.5


                                                    15D
                                                                            Structure       Asbestos
    Str. #      Length (i.rm)        Width (m)            Aspect Ratio

      -1             6.6                  0.7                 9.4            Bundle       Anthophyllite
      -2             5.2                  0.22                23.6           Bundle       Anthophyllite
      .3            20.3                  0.92                22.1           Bundle       Anthophyllite
      .4            27.0                  1.5                  18            Bundle       Anthophyllite
       5             5.9                  0.22                26.8            Fiber       Anthophyllite
                                 Average Aspect Ratio: 20.0




                                                M68503-059
                                      .                                     Structure       Asbestos
   Str. #       Length (gm)          Width (gm)           Aspect Ratio
                                                                              Type           Type
      -1            12.0                  0.4                 30.0           Bundle       Anthophyllite
      -2            17.0                  2.5                 6.8            Bundle       Anthophyllite
                                 Average Aspect Ratio: 18.4




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                                                                    Table 4

                                    Summary of Results for Johnson & Johnson’s
                                       1980’s Historical JBP & STS Samples


  MASh3                                                 Amphibole         Amphibole        Analytical
                                         Year of                                                             ISO PLM          Blount PLM
  Sample        Client Sample ID                         Asbestos        Asbestos wt.      Sensitivity
                                         Mnfr.                                                                 wt.%              wt.%
  Number                                               Structures/g           %           Structures/g
                 2018006 1-1OD                                                                                           0.2 Tre/Act
  1OD STS                                  1980             N/A              N/A              N/A            i3-NAD
                    STS 044                                                                                              <0.1 Anth
                 20180061-38D                                                                                            0.2 Tre/Act
  380 STS                                  1980           53,000            0.003            7,600           J3-NAD
                    515 002                                                                                              0.2 Anth
                 20180061-63D                                                                                            0.2 Tre/Act
 63D STS                                1980-1981           N/A              N/A              N/A            J3-NAD
                   STS 027D                                                                                              0.2 Anth
                 20180061-52D                                                                                            0.2 Ire/Act
 52D STS                                   1981           70,000            0.004            7,800           J3-NAD
                    STS 016                                                                                              0.5 Anth
                 20180061-650                                                                                            0.2 Ire/Act
 65D STS                                   1981           95,000           0.0092            7,300           J3-NAD
                    STS 029                                                                                              0.2 Anth
                 20180061-37D                                                                                            <0.1 Ire/Act
 37D STS                                  1982            9,300            0.00005           9,300           J3-NAD
                    STS 001                                                                                              <0.1 Anth
                 20180061-45D
 45D STS                                  1982            9,000            0.0019            9,000           J3-NAD      <0.1 Tre/Act
                    STS 009
                 20180061-S1D
 51D STS                                  1982            <9,400            N/A             9,400            J3-NAD      <0.1 Tre/Act
                   STS 1606A
                 20180061-66D
 660 STS                                  1982            <9,400            N/A             9,400            J3-NAD      0.1 Tre/Act
                   515 1610A
                 20180061-21D                                                                                            <0.1 Tre/Act
 210 STS                                  1983            <8,300            N/A             8,300            J3-NAD
                   STS1614A                                                                                              <0.1 Anth
 M68503-         2018-0051-34
                                          1984            18,700          0.000036          6,240        <0.lIre/Act     <0.1 Ire/Act
 OO1JBP            JBP294
                2018-0070-86
 M69042-
                2014.001.5102             1985            12,500          0.000035          6,200        <0.lIre/Act     <0.1 Anth
 010 JBP
                     JBP
                20180061-31F                                                                                             0.3 Tre/Act
 31F 515                                  1986           22,000            0.0029           7,300            J3-NAD
                   STS 065                                                                                               <  0.1 Anth
                 2018006 1-3 1G
 31G STS                                  1986           30,000           0.0005 2          7,500           ]3-NAD           0.7 Tre/Act
                    STS 065
 M69751-         201803 14-03                                                                                            <0.1 Ire/Act
                                          1989           59,000           0.000089          4500         <0.1 Tre/Act
037 Imerys          Imerys                                                                                               <0.1 Anth
      NAD: no asbestos detected. J-3NAD: Samples analyzed by Lee Poye.




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                                                        3$D

                                                                                  Structure     Asbestos
   Str. #       Length (gm)          Width (jim)              Aspect Ratio

     -1             3.2                     0.6                   5.3              Bundle     Anthophyllite
     -2             3.6                     0.7                   5.1              Bundle     Anthophyllite
     -3             18.9                    1.5                   12.6             Bundle     Anthophyllite
     -4             6.0                     0.9                   6.7              Bundle     Anthophyllite
     -5             6.2                     1.1                   5.6              Bundle     Anthophyllite
     -6             3.5                     0.4                   8.9               Fiber     Anthophyllite
     -7             6.0                     0.3                  20.0              Bundle     Anthophyllite
     -8             3.1                    0.25                  12.4              Bundle     Anthophyllite
                                       Average Aspect Ratio: 9.6




                                                        52D

                                       .                                          Structure    Asbestos
   Str. #       Length (jim)         Width (j.tm)          Aspect Ratio
                                                                                    Type          Type
     -1            46.5                    1.5                    31               Bundle     Anthophyllite
     -2             29.2                   1.5                   19.5              Bundle     Anthophyllite
     -3             10.0                   0.5                    20               Bundle     Anthophyllite
     -4            22.5                    1.3                   17.3              Bundle     Anthophyllite
     -5            11.7                    1.0                   11.7              Bundle     Anthophyllite
     -6             9.5                    1.0                   N/A               Bundle         Talc
     -7            31.0                    1.0                    31               Bundle     Anthophyllite
     -8             9.0                    0.25                   36                Fiber     Anthophyllite
     -9             3.8                    0.3                   12.7              Bundle     Anthophyllite
                                      Average Aspect Ratio: 22.4




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                                                      65D

                                                                               Structure            Asbestos
   Str. #        Length (p.tm)        Width (urn)           Aspect Ratio

     -1              18.0                 1.5                     12            Bundle            Anthophyllite
     -2              14.3                 1.5                   9.5             Bundle           Anthophyllite
     -3              20.2                 1.3                   15.5            Bundle           Anthophyllite
     -4              11.2                 0.7                     16            Bundle           Anthophyllite
     -5              6.8                  0.7                   9.7             Bundle           Anthophyllite
     -6              13.3                 0.7                     19            Bundle           Anthophyllite
     -7              22.3                 1.5                   14.9            Bundle           Anthophyllite
     -8              17.0                0.22                  77.3              Fiber           Anthophyllite
     -9              28.0                 2.5                   11.2            Bundle           Anthophyllite
    -10              9.5                  1.3                   7.3             Bundle           Anthophyllite
    -11              12.0                 0.8                     15            Bundle           Anthophyllite
    -12              10.2                 0.4                  25.5             Bundle           Anthophyllite
    -13              23.0                 3.5                   6.6             Bundle           Anthophyllite
                                     Average Aspect Ratio: 18.4



                                                    37D




                                      Average Aspect Ratio: 6.1



                                                    45D
                                                                             Structure     II                     I
   Str. #       Length (urn)         Width (urn)          Aspect Ratio
                                                                               Type
                                                                                                Asbestos Type     I
     -1             17.5                 2.2                  8.0             Bundle            Anthophyllite
                                      Average Aspect Ratio: 8.0




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                                                  M68503-OO1
                                                                                Structure      Asbestos
   Str. #       Length (jim)         Width (jim)            Aspect Ratio

     -1             9.89                 0.46                   21.5              Bundle     Anthophyllite
     -2              3.2                 0.59                    5.4             Bundle        Tremolite
     -3             10.4                 1.38                    7.5             Bundle        Tremolite
                                       Average Aspect Ratio: 11.5




                                                 M69042-O1O
                                                                                Structure     Asbestos
   Str. #       Length (jim)         Width (jim)            Aspect Ratio

     -1             9.2                  1.5                    6.1              Bundle     Anthophyllite
     -2             8.9                  0.42                   21.2             Bundle     Anthophyllite
                                      Average Aspect Ratio: 11.5




                                                      31F




                                     Average Aspect Ratio: 16.6




                                                     31G
                                                                               Structure
   Str. #       Length (jim)         Width (jim)         Aspect Ratio                       Asbestos Type

     -1             30.1                 0.7                    43              Bundle      Anthophyllite
     -2             13.5                 0.7                   19.3             Bundle      Anthophyllite
     -3             7.0                  0.7                    10              Bundle      Anthophyllite
     -4             22.5                 1.5                    15              Bundle      Anthophyllite

                                     Average Aspect Ratio: 21.8



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                                                    Table 5
                                  Summary of Results for Johnson & Johnson’s
                                    1990’s Historical JBP & Imerys Samples


MASh3                                           Amphibole     Amphibole        Analytical
                                     Year of                                                    ISO PLM         Blount PLM
Sample         Client Sample ID                  Asbestos     Asbestos wt.     Sensitivity
                                     Mnfr.                                                        wt. %            wt. %
Number                                         Structures/g                   Structures/g

M69757-         20180343-03A                                                                 <0.1 Ire/Act      <0.1 Tre/Act
                                      1990        27000        0.000010          4500
 005               Imerys                                                                    <0.1 Anth         <0.1 Anth

M69757-         20180358-O1A                                    0.00030                                        <0.1 Tre/Act
                                      1990       39000                           4300        <0.1 Tre/Act
 007               Imerys                                                                                      <0.lAnth

M69751-         20180320-O1A                      <4400       <0.0000268
                                      1991                                       4400             NAD               NAD
 039               Imerys

M69751-         20180320-13A
                                      1991        13000        0.000015          4500             NAD          <0.1 Tre/Act
 040               Imerys

M68503-         2018-0060-33
                                      1994       <9000        <0.0000268         9000             NAD               NAD
016 JBP           JBP 001

M69757-         20180339-05A
                                     1994        <4400        <0.0000268        <4400             NAD               NAD
 004               Imerys


M69751-         20180313-02A
                                     1995         4400        0.00000022         4400             NAD               NAD
 036               Imerys


M68503-         2018-0060-38
                                     1996        <9000        <0.0000268         9000            NAD                NAD
017 JBP           JBP 006

M69757-         20180344-04A
                                     1996        <4400        <0.0000268         4400            NAD                NAD
 006               Imerys

M69751-        20180315-021A
                                     1999        <4400        <0.0000268         4400            NAD               NAD
 002               Imerys
    NAD: no asbestos detected.




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                                                   M69757-005
    Str. #        Length (i.rm)         Width (im)           Aspect Ratio        Structure Type     Asbestos Type

      -1              2.32                 0.21                     11.0            Bundle           Anthophyllite
      -2               6.1                 0.42                     14.5            Bundle           Anthophyllite
      -3               4.4                 0.84                     5.2             Bundle           Anthophyllite
      -4              2.72                 0.42                     6.5             Bundle           Anthophyllite
      -5               8.7                 0.38                     22.9            Bundle           Anthophyllite
      -6              4.82                 0.76                     6.3             Bundle           Anthophyllite
                                         Average Aspect Ratio: 11.1



                                                  M69757-007
                                                                                 Structure
    Str. #       Length (i.im)        Width (gm)           Aspect Ratio                           Asbestos Type

      -1             5.6                   1.1                  5.1               Bundle          Anthophyllite
      -2             4.6                  0.64                  7.2               Bundle          Anthophyllite
      -3             9.9                  0.36                 27.5                Fiber          Anthophyllite
      -4             10.9                 0.35                 31.1               Bundle          Anthophyllite
      -5             11.7                 1.4                   8.4               Bundle          Anthophyllite
      -6             11.6                 1.1                  10.5               Bundle            Actinolite
      -7             11.8                 1.6                   7.4               Bundle          Anthophyllite
      -8               8                  1.3                   6.2               Bundle          Anthophyllite
      -9             49.4                 2.1                  23.5               Bundle            Talc-Anth
                                       Average Aspect Ratio: 11.1




                                                  M69751-040
                                                                                 Structure            Asbestos
   Str. #       Length (aim)         Width (urn)         Aspect Ratio

     -1             7.4                 0.62                 11.9                 Bundle            Anthophyllite
     -2            14.9                 0.74                 20.1                 Bundle            Anthophyllite
     -3            6.72                 0.62                 10.8                 Bundle            Anthophyllite
                                      Average Asnect Ratio: 11.1




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                                                                 M69751-036
                                                                                              Structure             Asbestos
          Str. #           Length (.tm)             Width (pm)         Aspect Ratio
                                                                                                Type                 Type
            -1                   6.3                   0.18                 35.0                 Bundle             Tremolite
                                                      Average Aspect Ratio: 35.0




                                                                  Table 6

                                       Summary of Results for Johnson & Johnson’s

                                             2000’s Historical Imerys Samples




                                                       Amphibol
MASh3                                                                  Amphibole        Analytical
                                          Year of      e Asbestos                                         ISO PLM         Blount PLM
Sample            Client Sample ID                                    Asbestos wt.      Sensitivity
                                           Mnfr.       Structures                                           wt. %            wt. %
Number                                                                     %           Structures/g
                                                           /g

M69751-            2018-0315-O1A           2001-                       0.000017
                                                              4400                        4400             NAD                  NAD
 001                                    2002


M69751-           2018-0316-020A           2000               4600     0.0000024          4600             NAD          <0.1 Ire/Act
 006

M69751-           2018-0316-021A           2000                        0.000024
                                                              8700                        4300             NAD                  NAD
 007

M69751-           2018-0317-04A            2000          <4400        <0.0000268
                                                                                          4400             NAD                  NAD
 038

M69751-           2018-0315-040A           2001                       <0.0000268
                                                         <4300                            4300             NAD                  NAD
 004

M69751-           2018-0316-022A          2003           <4400        <0.0000268
                                                                                          4400             NAD                  NAD
 008
   NAD: no asbestos detected.




                                                               M69751-001
                                                                                             Structure              Asbestos
         Str. #           Length (.tm)              Width (nm)        Aspect Ratio
                                                                                               Type                  Type
           -1                   10.5                   1.2                  8.8               Bundle             Iremolite
                                                      Average Aspect Ratio: 8.8
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                                                M69751-006
                                                                              Structure          Asbestos
   Str. #       Length (urn)         Width (j.im)       Aspect Ratio
                                                                                Type              Type
     -1             8.2                  0.5                16.4               Bundle            Tremolite
                                       Average Aspect Ratio: 35.0




                                                M69751-007
                                                                             Structure           Asbestos
   Str. #       Length (urn)         Width (i.tm)      Aspect Ratio
                                                                               Type               Type
     -1             16.0                  1                16.0                Bundle            Tremolite
     -2             7.6                  0.9                8.4                Bundle            Tremolite
                                       Average Aspect Ratio: 12.2




                                            Table 7
                               Summary of i3 XRD & PLM Analysis
                                             Asian

                        MAS Sample           Date of Manuf.            ISO XRD
                           Number
                        M69248-001                  N/A                   NAD
                        M69248-002                 1979              inconclusive
                        M69248-003              1980-1984              positive
                        M69248-004                  N/A                   NAD
                        M69248-005                  N/A                  NAD
                        M69248-006                 1982                  NAD
                        M69248-007                 N/A                 positive
                  NAD: no asbestos detected N/A: dates of manufacture not provided by i&J




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                                             Table $
                                Summary of i3 XRD & PLM Analysis
                                             1960’s
      MASSample              DateofManuf.         ISOXRD            J3              MAS
       Number                                                   ISO PLM %        ISO PLM %
      M68503-010                 1960              NAD             NAD              NAD

      M68503-009                 1962              NAD             NAD              NAD

      M68508-024                 1963              NAD             NAD              NAD

      M68503-004                 1964              NAD             NAD         <0.1 Item/Act

      M68503-014                 1965              NAD             NAD             NAD

      M68503-011                 1966              NAD             NAD             NAD

      M68503-027                 1966              NAD             NAD             NAD

      M69042-007              1966-1967            NAD             ---             NAD

      M69042-003                1967               NAD             ---             NAD

      M69042-005                1967               NAD             ---             NAD

      M69042-006                1967               NAD             ---             NAD

      M68503-019                1967               NAD             NAD             NAD

      M68503-038                1968               NAD             NAD             NAD

      M68503-026                1969               NAD            NAD          <0.1 Irem/Act

 NAD: no asbestos detected




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                             Summary of J3 XRD & J3/ MAS PLM Analysis

                                                      1970’s
      MAS Sample             Date of Manuf.            ISO XRD            i3              MAS
       Number                                                         ISO PLM %        ISO PLM %
      M68503-005                   1970                  NAD             NAD              NAD

      M69042-009                   1970                  NAD             ---‘
                                                                                      <0.1 Trem/Act

      M68503-029                   1971                  NAD             NAD              NAD

      M68503-021                   1972                  NAD             NAD              NAD

      M68503-023                   1973                  NAD             NAD           <0.1 Anth.

      M68503-028                   1974                  NAD             NAD              NAD

          02D                     1975                   NAD             NAD
                                                                                      <0.lTrem/Ac
      M69042-001                  1975                   NAD
                                                                                       <0.1 Anth
      M68503-046                  1975                   NAD             NAD              NAD

                                                                                     <0.1 Trem/Act
      M68503-042                  1976                   NAD             NAD
                                                                                       <0.1 Anth

      M68233-001                  197$                   NAD             —           <0.1 Trem/Act

      M68233-002                  1978                   NAD             —           <0.1 Trem/Act

                                                                                     <0.1 Trem/Act
      M68503-057                  1978                   NAD             NAD
                                                                                       <0.1 Anth
      M68503-020                  1978                   NAD            NAD            <0.1 Anth

                                                                                     <0.lTrem/Act
      M69042-002                  1978                   NAD
                                                                                       <0.1 Anth
                                                                                     <0.1 Trem/Act
      M69042-004                  1978                   NAD
                                                                                       <0.1 Anth
      M69042-00$                  1978                   NAD             ---           <0.1 Anth

          07D                     1978                   NAD            NAD                --




          15D                     1978                   NAD            NAD                --




          SOD                     1978                   NAD            NAD                --




                                                                                     <0.1 Trem/Act
      M68503-059                  1979                   NAD            NAD
                                                                                       <0.1 Anth
 NAD: no asbestos detected    *: not   analyzed


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                                Summary of i3 XRD & PLM Analysis

                                                  1980’s
    MAS/P3 Sample          Date of Manuf.          ISO XRD            13              MAS
      Number                                                       ISO PLM          ISO PLM
         1OD                     1980                NAD             NAD
          38D                    1980                NAD             NAD               --




          63D                 1980-1981              NAD             NAD               --




          52D                    1981                NAD             NAD               --




          65D                    1921                NAD             NAD               --




          37D                    1982                NAD             NAD               --




          45D                   1982                 NAD             NAD               --




          51D                   1982                 NAD             NAD               --




          66D                   1982                 NAD             NAD               --




          21D                   1983                 NAD             NAD              --




      M68503-001                1984                 NAD             NAD         <0.1%Trem/Act
      M69042-010                1925                 NAD              ---        <0.1%Trem/Act
          31F                   1986                 NAD             NAD              --




          31G                   1986                 NAD             NAD              --




 NAD: no asbestos detected, *: not analyzed




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                                      Summary of i3 XRD Analysis

                                                   1990’s
              MAS Sample Number                 Date of Manuf.             ISO XRD

                  M69757-005                         1990                    N/A
                  M69757-007                         1990                    N/A
                  M69751-039                         1991                    N/A
                  M69751-040                         1991                    N/A
                  M68503-016                         1994                   NAD
                  M69757-004                         1994                    N/A
                  M69751-036                         1995                    N/A
                  M68503-017                         1996                   NAD
                  M69757-006                         1996                    N/A
                  M69751-002                         1999                    N/A

         NAD: no asbestos detected    N/A: Sample not analyzed



                                      Summary of J3 XRD Analysis

                                               Early 2000’s


              MAS Sample Number                 Date of Manuf.             ISO XRD


                  M69751-005                         2000                   N/A
                  M69751-007                         2000                   N/A
                  M69751-039                         2000                   N/A
                  M69751-040                         2000                   N/A
                  M69751-004                         2001                   N/A
                  M69751-036                         2001                   N/A

         N/A: not analyzed




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                                                      Table 9

         Occurrence of Fibrous Talc in Historical i&J Cosmetic Talcum Powders

                                                      1960’s
                                Date of                  TEM        Talc Fibers per    15022262-1
       Sample #             Manufacture              AnalVsis F.T        gram         PLM Analysis
      M68503-O1O                 1960                   Trace          852,000            Trace
      M68503-009                 1962                   Trace          882,000           Trace
      M68503-024                 1963                   Trace          896,000           Trace
      M68503-004                 1964                   Trace          298,000           Trace
      M68503-014                 1965                   Trace          864,000           Trace
      M68503-027                 1966                   Trace          290,000           Trace
      M68503-O11                 1967                    NSD              N/A            Trace
      M68503-019                 1967                   Trace          892,000           Trace
      M69042-003                 1967                   Trace          890,000          Moderate
     M69042-005                  1967                   Trace          873,000          Moderate
      M69042-006                 1967                    NSD              N/A           Moderate
     M69042-007                  1967                    NSD             N/A            Moderate
     M68503-038                  1968                   Trace          304,000           Trace
     M68503-026                  1969                   Trace          864,000           Trace
 N/A: Not applicable, fibrous talc calculations not possible




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                                                      1970’s
                                  Date of                  TEM            Talc Fibers per           15022262-1
        Sample #              Manufacture             Analysis F.T             gram                PLM Analysis
      M68503-005                   1970                   Trace               877,000                  Trace
      M69042-009                   1970                   Trace               637,000                Moderate
      M68503-029                   1971                   Trace             1,020,000                  Trace
      M68503-021                   1972                    NSD                  N/A                    Trace
      M68503-023                   1973                   Trace              876,000                   Trace
      M68503-028                   1974                    NSD                  N/A                    Trace
           02D                     1975                 1 Flber*                N/A                     N/A
      M69042-OO1                   1975                    NSD                  N/A                     N/A
      M68503-046                   1975                    NSD                  N/A                    Trace
      M68503-042                   1976                    NSD                  N/A                    Trace
      M68233-OO1                   1978                    NSD                  N/A                    Trace
      M68233-002                   1978                   Trace               735,00                   Trace
      M68503-057                   1977                    NSD                  N/A                    Trace
      M68503-020                   1978                   Trace              868,000                   Trace
      M69042-002                   1978                   Trace              890,000                 Moderate
     M69042-004                    1978                   Trace              603,000                 Moderate
     M69042-008                    1978                    NSD                  N/A                  Moderate
           07D                     1978                  1 Fiber                N/A                     NSD
           15D                     1978              None reported              N/A                     NSD
           50D                     1978                 3 Fibers                N/A                     NSD
     M68503-059                   1979                    Trace              855,000                  Trace
 *No criteria provide by P3 for fibrous talc estimation. N/A: Not applicable, fibrous talc calculations not possible




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                                                       1980’s
                                 Date of                    TEM          Talc Fibers per            15022262-1
        Sample #              Manufacture             Analysis F.T             gram                PLM Analysis
           38D                     1980              None Reported              N/A                     N/A
           52D                     1981              None Reported              N/A                     N/A
           650                     1981              None Reported              N/A                     N/A
           37D                     1982                 2 Fibers*               N/A                     N/A
           45D                     1982                  3 Fibers               N/A                     N/A
           510                     1982              None Reported              N/A                     N/A
           660                     1982              None Reported              N/A                     N/A
           21D                     1983                   1 Fiber               N/A                     N/A
      M68503-001                  1984                     Trace             624,000                   Trace
      M69042-010                  1985                     Trace             624,000                 Moderate
           31F                    1986                   1 Fiber                N/A                     N/A
           31G                    1986                  2 Fibers                N/A                     N/A
     M69751-037                   1989                    Trace              548,000                 Moderate
 *No criteria provide by P3 for fibrous talc estimation. N/A: Not applicable, fibrous talc calculations not possible




                                                      1990’s
        Sample #                Date of                  TEM              Talc Fibers Per          15022262-1
                            Manufacture              Analysis F.T              gram               PLM Analysis
      M69757-005                 1990                   Trace                434,000                Moderate
      M69757-007                 1990                   Trace                478,000                Moderate
      M69751-039                 1991                   Trace                497,000                Moderate
      M69751-040                 1991                   Trace                451,000                Moderate
      M68503-016                 1994                   Trace                898,000                 Trace
      M69757-004                 1994                   Trace                403,000                 Trace
      M69751-036                 1995                   Trace                438,000                Moderate
      M68503-017                 1996                   Trace                895,000                 Trace
      M69757-006                 1996                   Trace                439,000                Moderate
      M69751-002                 1999                    NSD                   N/A                 Moderate
 N/A: Not applicable, fibrous talc calculations not possible




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                                                  Early 2000’s
       Sample #               Date of                  TEM             Talc Fibers Per         15022262-1
                            Manufacture             Analysis F.T            gram              PIM Analysis
     M69751-001                 2000                    Trace             471,000               Moderate
     M69751-006                 2000                    Trace             439,000                Trace
     M69751-007                  2000                   Trace             458,000                Trace
     M69571-038                 2000                    Trace             437,000              Moderate
     M69751-004                 2001                    Trace             434,000              Moderate
     M69751-008                 2003                    NSD                 N/A                  Trace
 N/A: Not applicable, fibrous talc calculations not possible




                                                      Asian
                              Date of              TEM               Talc Fibers per           15022262-1
      Sample #            Manufacture          Analysis F.T                gram               PLM Analysis
    M69248-001              Unknown*              Trace                  577,000                  Trace
    M69248-002                 1979               Trace                  582,000                  Trace
    M69248-003              1980-1984             Trace                  930,000                  Trace
    M69248-004               unknown              Trace                  860,000                  Trace
    M69248-005              unknown               Trace                  870,000                  Trace
    M69248-006                 1982                NSD                      N/A                   Trace
    M69248-007              unknown                NSD                      N/A                   Trace
 JJ did not provide date of manufacture. N/A: Not applicable, fibrous talc calculations not possible




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